12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13      Main Document
                                     Pg 1 of 108




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                              Chapter 11

                                              Case No. 12-11343 (REG)
PINNACLE AIRLINES CORP., et al.,
                                              (Jointly Administered)

Debtors.


              DECLARATION OF JERROLD A. GLASS IN SUPPORT OF
                  DEBTORS’ MOTION TO REJECT COLLECTIVE
            BARGAINING AGREEMENTS WITH THE AIR LINE PILOTS
            ASSOCIATION, INTERNATIONAL AND THE ASSOCIATION
           OF FLIGHT ATTENDANTS-CWA PURSUANT TO 11 U.S.C. § 1113
12-11343-reg         Doc 658         Filed 09/21/12 Entered 09/21/12 17:38:13                                     Main Document
                                                 Pg 2 of 108



                                              TABLE OF CONTENTS

I.     IDENTIFICATION OF DECLARANT ............................................................................ 1

       A.       Employment History.............................................................................................. 1

                1.         Current Employment.................................................................................. 1

                2.         Prior Employment...................................................................................... 2

       B.       Experience in Airline Labor Relations and Collective Bargaining ....................... 3

       C.       Other Experience and Educational Background .................................................... 6

       D.       Prior Testimony ..................................................................................................... 7

II.    ASSIGNMENT: COMPARE PINNACLE’S CURRENT AND PROPOSED
       LABOR CONTRACT TERMS TO DETERMINE ITS COMPETITIVENESS
       WITH ITS MARKET GROUP.......................................................................................... 8

III.   INTRODUCTION: DETERMINING AN AIRLINE’S COMPARATORS AND
       COMPARING CONTRACT PROVISIONS .................................................................... 9

       A.       Determining An Airline’s Comparators................................................................. 9

       B.       Apportioning the Necessary Savings ................................................................... 10

IV.    SUMMARY OF CONCLUSIONS: PINNACLE’S LABOR CONTRACTS ON
       THE WHOLE HAVE AMONG THE HIGHEST COSTS AND LOWEST
       PRODUCTIVITY AS COMPARED TO ITS COMPETITORS..................................... 15

                1.         Compensation .......................................................................................... 15

                2.         Work Rules .............................................................................................. 16

       B.       Flight Attendants.................................................................................................. 18

                1.         Compensation .......................................................................................... 18

                2.         Work Rules .............................................................................................. 18

       C.       Employee Benefits ............................................................................................... 19

V.     CARRIERS IN BANKRUPTCY CANNOT AIM FOR “AVERAGE”
       CONTRACT PROVISIONS WHEN SEEKING LABOR COST REDUCTIONS ........ 21

       A.       Regional Carrier Labor Cost Reductions in Bankruptcy Over the Past
                Decade.................................................................................................................. 23



                                                                -i-
12-11343-reg           Doc 658         Filed 09/21/12 Entered 09/21/12 17:38:13                                     Main Document
                                                   Pg 3 of 108



        B.        Major Airline Labor Cost Reductions in Bankruptcy Over The Past
                  Decade.................................................................................................................. 27

                  1.         US Airways: Four Rounds of Concessions Over Two
                             Bankruptcies ............................................................................................ 29

                  2.         United Airlines: Three Years in Bankruptcy With Two Rounds of
                             1113 Motions ........................................................................................... 31

                  3.         Delta Airlines: Two Rounds of Concessions – Once Before
                             Bankruptcy and Again During Bankruptcy ............................................. 36

                  4.         Northwest Airlines: Two Rounds of Labor Cost Reduction
                             Agreements – Once Pre-Bankruptcy and Once During Bankruptcy ....... 38

                  5.         Continental Air Lines: Even More Concessions Years After Two
                             Bankruptcies ............................................................................................ 41

VI.     PINNACLE’S PILOT CONTRACT PROVIDES HIGHER COSTS, LOWER
        PRODUCTIVITY, AND MORE RESTRICTIONS ON THE COMPANY THAN
        ITS COMPETITORS....................................................................................................... 43

        A.        Pinnacle’s Pilot Compensation Is Above Market ................................................ 43

        B.        Pinnacle’s Pilot Work Rules Are Among The Most Costly And Least
                  Productive In The Industry .................................................................................. 50

VII.    PINNACLE’S FLIGHT ATTENDANT CONTRACT CONTAINS A NUMBER
        OF PROVISIONS THAT ARE MORE COSTLY AND PROVIDE LESS
        PRODUCTIVITY THAN ITS COMPETITORS ............................................................ 79

        A.        Pinnacle’s Flight Attendant Compensation Is At Market Rates .......................... 79

        B.        Pinnacle’s Flight Attendant Work Rules Are Costly........................................... 81

VIII.   PINNACLE’S EMPLOYEE BENEFITS ARE AMONG THE MOST COSTLY
        IN THE INDUSTRY ....................................................................................................... 93

        A.        Medical Plans....................................................................................................... 93

        B.        Sick Leave and Disability .................................................................................... 98

        C.        401(k) Retirement Benefits................................................................................ 100

        D.        Profit Sharing ..................................................................................................... 103




                                                                  -ii-
12-11343-reg            Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                              Pg 4 of 108



           I, JERROLD A. GLASS, subject to the penalties provided by law for perjury, do hereby

declare the following to be true and correct on the basis of my personal knowledge and upon

information from documents I have reviewed, including those in my custody and control. I offer

this declaration in support of Pinnacle’s motion pursuant to 11 U.S.C. § 1113 to reject the

collective bargaining agreements between Pinnacle and the Air Line Pilots Association,

International (“ALPA”) and the Association of Flight Attendants-CWA (“AFA”).

I.         IDENTIFICATION OF DECLARANT

           A.      Employment History

                   1.      Current Employment

             1.    F&H Solutions Group. I am currently employed as President of F&H Solutions

     Group, a human resources and labor relations consulting firm with offices in four locations.

     F&H Solutions Group was formed in May 2006 as the successor to my previous consulting

     firm, J. Glass & Associates, which was formed in 1989. I was employed by J. Glass and

     Associates from 1989 until I joined US Airways in April, 2002; I rejoined J. Glass &

     Associates upon my departure from US Airways in October 2005. J. Glass & Associates

     specialized in representing transportation sector companies, including airlines and railroads, in

     labor and employee relations matters. J. Glass and Associates also conducted ad hoc surveys

     for individual airline and railroad companies and provided clients with other analyses related to

     labor and employee relations. J. Glass & Associates also provided expert witness testimony in

     labor arbitrations and litigation.

             2.    There are currently 17 full-time professional consultants employed at F&H

     Solutions Group. The initial client base of F&H Solutions Group were air carriers carried over

     from J. Glass and Associates; F&H Solutions continues to do considerable work for air

     carriers, but the client base has also grown to include non-airline clients as well. The work at


                                                   -1-
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                          Pg 5 of 108



 F&H Solutions Group also includes recruiting, human resource assessments, diversity and

 inclusion training, compensation analysis, and FMLA administration. The firm is also

 responsible for producing pay, work rule, and benefit comparisons on behalf of various trade

 associations. These include:

      •        Regional Airline Association – surveys covering pay, work rules, and benefits for
               pilots, flight attendants, ground employees, and management personnel;

      •        Airline Human Resource Association – surveys covering ground employees of
               foreign airlines working in the United States; and

      •        Labor Relations Association of Passenger Railroads – surveys covering shopcraft
               employees, trainmen and engineers, maintenance-of-way employees, agents and
               clerks, and supervisors.

               2.      Prior Employment

          3.   US Airways, Inc. I was employed by US Airways, Inc. as Senior Vice President

 of Employee Relations from April 2002 to April 2004, at which time I was promoted to

 Executive Vice President and Chief Human Resources Officer. I remained in that position at

 US Airways, Inc. until September 30, 2005, when US Airways merged with America West

 Airlines and relocated its headquarters from Arlington, Virginia to Tempe, Arizona. I was at

 US Airways throughout the time of their first (2002-03) and second (2004-05) bankruptcy

 proceedings. I was responsible for all aspects of human resources and labor relations,

 including all collective bargaining, human resources policy assessment and implementation,

 benefit administration, benefit strategy and design, recruiting, compensation, corporate

 learning and development, and labor relations.

          4.   J. Glass & Associates. I started and served as President of J. Glass & Associates

 in September 1989 as a consulting firm targeted toward airline clients seeking outside support

 for their labor relations team for special projects or assistance in collective bargaining, with

 particular focus on contract negotiations (chief negotiator), costing (valuation) of company and


                                                -2-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 6 of 108



 union proposals, and contract analysis and research on any of the various subjects usually

 found in airline labor contracts. I remained at the firm until my departure for US Airways in

 April 2002. During my thirteen years of consulting work, I developed a practice strong enough

 to survive and prosper despite my hiatus from 2002 to 2005. Three associates continued to

 provide assistance to clients during my years at US Airways. At J. Glass & Associates, I

 provided consulting services to nearly 50 different airlines, including majors, nationals, cargo,

 foreign flag and regional airlines.

         5.    Airline Industrial Relations Conference. From 1980 to 1989, I served in

 several capacities with the Airline Industrial Relations Conference (“AIRCon”), a membership

 organization of U.S. air carriers. AIRCon was created to serve as the information exchange

 and labor policy organization of U.S. scheduled air carriers. At AIRCon, I started employment

 as Director of Labor Relations Research, later being promoted to Vice President and Secretary-

 Treasurer. My responsibilities at AIRCon included analysis of all collective bargaining

 agreements in the airline industry, including newly ratified agreements, and preparation and

 updating of reports on the contract terms in effect at the various airlines, which included all

 pay, work rule, and benefits information contained in an airlines’ collective bargaining

 agreements. AIRCon’s members were especially interested in such comparative information

 when their own agreements were coming up for negotiations. The knowledge and experience I

 gained at AIRCon formed the basis of my subsequent work as a consultant on airline labor

 relations issues.

       B.      Experience in Airline Labor Relations and Collective Bargaining

         6.    Airline Collective Bargaining Experience. I have negotiated in excess of 100

 airline collective bargaining agreements. I have served as chief negotiator and/or advisor to the

 following airlines with regard to the employee groups indicated:


                                                -3-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13         Main Document
                                          Pg 7 of 108



      •        ACJet (Pilots and Flight Attendants);

      •        Allegheny Airlines (Mechanic & Related);

      •        Air Wisconsin (Pilots, Flight Attendants, Mechanic & Related, Fleet and
               Passenger Service, Dispatchers);

      •        America West Airlines (Pilots, Flight Attendants, Mechanic & Related);

      •        ATA Airlines (Pilots);

      •        Atlantic Coast Airlines (Pilots, Flight Attendants, and Mechanic & Related);

      •        Atlas Airlines (Pilots);

      •        Capital Cargo Airlines (Pilots);

      •        Colgan Airlines (Pilots, Flight Attendants);

      •        DHL Airways (Pilots);

      •        Frontier Airlines (Pilots);

      •        Hawaiian Airlines (Pilots, Flight Attendants, Mechanic & Related, Fleet and
               Passenger Service, Dispatchers);

      •        Independence Air (Pilots, Flight Attendants);

      •        Mesaba Airlines (Flight Attendants, Mechanic & Related, Dispatchers);

      •        Midwest Airlines (Pilots, Flight Attendants);

      •        Offshore Logistics (Pilots);

      •        Pinnacle Airlines (Pilots, Flight Attendants, Dispatchers);

      •        PSA Airlines (Pilots);

      •        Sun Country Airlines (Pilots, Flight Attendants);

      •        Tower Air (Pilots, Flight Attendants); and

      •        US Airways (Pilots, Flight Attendants, Mechanic & Related, Fleet Service,
               Passenger Service, Dispatchers, Maintenance Training Specialists, Flight
               Simulator Engineers, Flight Crew Training Instructors).




                                                  -4-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                          Pg 8 of 108



         7.    In addition, I have represented at the collective bargaining table four foreign flag

 airlines operating in the United States – Bahamasair, British Airways, Mexicana Airlines, and

 Virgin Atlantic (all with regard to customer service agents).

         8.    Other Collective Bargaining Experience. I have also negotiated contracts in

 other industries including the passenger railroad and manufacturing sectors. I have represented

 the Northern Indiana Commuter Transportation District (NICTD) in negotiations and advised

 Amtrak, Long Island Railroad (LIRR), Metro North Railroad, Massachusetts Bay Commuter

 Railroad (MBCR), New Jersey Transit (NJT), NICTD, Port Authority Trans Hudson Line

 (PATH), Southeastern Pennsylvania Transportation Authority (SEPTA) in various labor

 matters. Also, I represented the National Elevator Bargaining Association (NEBA) in two

 rounds of multiemployer national bargaining and one round of local bargaining. NEBA

 represents the largest elevator construction companies in the United States. Furthermore, I

 have been retained by many other major, national, cargo, regional, and foreign flag airlines to

 assist in analyzing air carrier pay, work rules, and benefits. A list of all airline and related

 clients is listed in Attachment I.

         9.    Costing and Valuation of Proposals; Research and Analysis. One type of

 assignment in our consulting work is to assist airline clients in determining the estimated costs

 (or savings) likely to arise as a result of various proposed contract terms. While wage rates can

 be relatively easy to quantify, intimate knowledge of airline industry work rules and practices

 is essential to proper evaluation of other contract terms. Airline work rules are notoriously

 complex and interrelated, requiring a broad working knowledge of the industry in order to

 properly evaluate. Many airlines have sufficient staff and resources for this task, but

 sometimes need outside help, e.g., when multiple contracts are in negotiation at the same time.




                                                 -5-
12-11343-reg     Doc 658       Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                           Pg 9 of 108



 Smaller and regional carriers generally have fewer internal resources and frequently need

 outside support and advice on costing/valuation, comparative contract provisions, and analysis

 of contract issues when negotiating collective bargaining agreements.

         10.   Experience in Airline Bankruptcy Cases. I have been involved in several

 airline bankruptcies. In 1993, I served as chief negotiator and labor advisor to Hawaiian

 Airlines when the airline sought bankruptcy protection. Also, I served as a labor advisor and

 chief negotiator for Frontier Airlines and Independence Air after those airlines filed for

 bankruptcy protection. I was employed at US Airways as the Senior Vice President of

 Employee Relations when the company sought bankruptcy protection in August 2002. I was

 still with US Airways as the Executive Vice President and Chief Human Resources Officer

 when the airline filed for bankruptcy protection a second time in September 2004.

         11.   Other Airline-Related Work. I have also advised airlines on bargaining

 strategies and have been retained by investment firms to advise them on the labor aspects of

 airline mergers/acquisitions, consolidations, asset sales, and the impact of labor settlements on

 the air carrier’s overall cost structure.

       C.      Other Experience and Educational Background

         12.   Prior to joining AIRCon, I was the assistant to the director of economic studies at

 the American Association of University Professors, a trade association and union of college

 professors, where I analyzed salary and benefit data from more than 2,600 colleges and

 universities for inclusion in an annual report on the economic status of college professors. I

 received a bachelor’s degree in political science from Boston University in 1976 and a master’s

 degree in public administration from The George Washington University in 1978. In addition

 to the experience outlined in this Declaration, throughout the years I have served as a speaker

 on numerous panels on the subject of labor and employee relations in the airline industry. I am


                                               -6-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 10 of 108



 frequently asked to provide analysis to the media and have been quoted or appeared on

 television and radio on numerous occasions to discuss airline and other industry labor relations

 matters.

      D.       Prior Testimony

        13.    I testified on two separate occasions in Bankruptcy Court in the Eastern District

 of Virginia on behalf of US Airways during the course of its two bankruptcy proceedings. The

 subjects of my testimony included labor costs and projections, management compensation,

 retention, and staffing issues. During my work as a consultant, I have testified at least 50 times

 on behalf of air carriers in labor arbitration proceedings on a variety of airline contract

 interpretation issues, including wage, work rule and benefit comparisons, negotiations history,

 and seniority. In addition, I have testified in a number of interest arbitration proceedings

 involving pay rates of pilots, flight attendants, and mechanics. I have been retained as an

 expert to advise law firms and their clients on airline matters. Examples include calculations

 involving prevailing wage rate issues (Service Contract Act), seniority issues (Bertulli v. IACP

 and Continental Airlines), and 3-pilot vs. 2-pilot issues (Tice v. American). I have also

 testified as an expert witness in the following matters: Pinoli v. Westermeyer (citation not

 available) and Crocker v. Piedmont Aviation, 741 F. Supp. 241 (D.D.C. 1989). I appeared as

 an expert witness to opine on comparative pay, work rules, and benefits in the regional airline

 industry in the United States Bankruptcy Court for the Southern District of New York in In re

 Delta Air Lines, et al, Debtors (Chapter 11 Case No. 05-17923 (ASH)). I recently testified as

 an expert witness on major airline comparative pay, work rules, and benefits in the United

 States Bankruptcy Court for the Southern District of New York in In re AMR Corporation, et

 al, Debtors (Chapter 11 Case No. 11-15463 (SHL)).




                                                -7-
12-11343-reg       Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                          Pg 11 of 108



II.    ASSIGNMENT: COMPARE PINNACLE’S CURRENT AND PROPOSED
       LABOR CONTRACT TERMS TO DETERMINE ITS COMPETITIVENESS
       WITH ITS MARKET GROUP

           14.   I am currently serving as the lead labor negotiator for Pinnacle Airlines, Inc.

  (“Pinnacle” or the “Company”) and have advised on all aspects of the labor ask. I have been

  asked to compare the Company’s current labor contracts, including the Joint Collective

  Bargaining Agreement (the “JCBA”) by and between Pinnacle Airlines, Inc., Mesaba Aviation,

  Inc., and Colgan Air, Inc. and the Pilots in Their Service as represented by ALPA, attached

  hereto as Ex. 54, and the Agreement between Pinnacle Airlines, Inc. and its Flight Attendants

  as represented by AFA (the “AFA CBA”), attached hereto as Ex. 55, as well as the Company’s

  proposed modifications with the labor contracts of its competitors. I have also been asked to

  provide background and context for this comparison based on my industry expertise. The

  remainder of my declaration is organized as follows:

       •         Section III: Introduction

       •         Section IV: Summary of Conclusions

       •         Section V: Experience of Other Carriers in Bankruptcy

       •         Section VI: Pilots

       •         Section VII: Flight Attendants

       •         Section VIII: Employee Benefits for All Groups of Unionized Employees




                                                  -8-
12-11343-reg        Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13               Main Document
                                            Pg 12 of 108



III.      INTRODUCTION: DETERMINING AN AIRLINE’S COMPARATORS AND
          COMPARING CONTRACT PROVISIONS

          A.      Determining an Airline’s Comparators

            15.   It is standard practice for carriers and unions in the airline industry to compare

    pay, work rules, and benefits for a group of employees 1 to a peer set when negotiating changes

    to their collective bargaining agreements (CBAs). This practice is known as “pattern

    bargaining.” For each section of the agreement, unions generally seek to match or exceed the

    best (from an employee standpoint) contract terms in place at comparable carriers, while

    carriers usually seek to control costs and/or to increase productivity within boundaries set by

    the pattern of their particular peer set. In the case of regional airlines, the peer set is usually

    determined by examining the CBAs for those regional airlines that (1) serve the same mainline

    partner as the airline under review (e.g., Pinnacle and Delta) and (2) serve other mainline

    partners. Each of these categories – or “Comparator Groups” – includes airlines that fly the

    same or similar equipment to the airline under review.

            16.   For Pinnacle, the primary Comparator Group consists of other regional carriers

    that provide passenger feed for Delta Air Lines (known as “Delta Connection Inc.,” carriers or

    “DCI Carriers” or “DCI Comparators”). 2 In addition, a secondary set of Comparators would

    include regional carriers that operate aircraft similar to Pinnacle, but do not provide passenger

    feed to Delta (known as “Other Airlines” or “OALs” or “Non-DCI Carriers” “Non-DCI


1
  Under the Railway Labor Act, which governs airline unions among others, each major work
group, such as pilots or flight attendants, is a separate “craft or class.” The scope of each craft or
class, and the election of union representatives, are determined by the National Mediation Board
pursuant to the provisions of Section 2, Ninth of the RLA. 45 U.S.C. § 152, Ninth. (2006 &
amended by P.L. 112-95, Feb. 14 2012). Each craft or class is nationwide in geographic scope.
2
 The DCI Carriers are: ExpressJet-CRJ (formerly Atlantic Southeast Airlines), Comair,
Compass Airlines, GoJet Airlines, Republic Airlines, and SkyWest Airlines.



                                                    -9-
12-11343-reg        Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                            Pg 13 of 108



    Comparators”). 3 It is logical for Pinnacle to compare its collective bargaining terms to other

    DCI Carriers. However, it is also necessary for Pinnacle and other regional airlines to compare

    themselves to OALs because the market for securing regional airline business is very

    competitive and whenever a Request For Proposal (RFP) is issued by a mainline carrier, the

    bidding is generally open to most or all regional airlines that have or could readily acquire the

    required aircraft to fly the required routes.

          B.      Apportioning the Necessary Savings

            17.   In determining the distribution of the required savings for the total ask, the

    Company apportioned the additional required savings in the percentages seen in the row

    labeled “Percentage Of Total Ask” of Ex. 17, Determination of Ask by Employee Group,

    which reflects the apportionment of the required savings under its May 8 proposals. The

    apportionment of the May 8 proposals, described more fully below, was based on a mark-to-

    market analysis as well as a comparison to the work rules of other DCI carriers.

            18.   In determining the May 2012 proposal, 4 the Company utilized the airline

    comparisons to conduct a “mark-to-market” analysis which was used, in part, to determine how

3
  The Non-DCI Comparators are: Air Wisconsin, American Eagle Airlines, ExpressJet-ERJ
(formerly ExpressJet), Mesa Airlines, and Trans States Airlines.
4
  The Company presented initial proposals on May 8, 2012. On May 18 (pilots) and May 31
(flight attendants), these proposals were adjusted to account for a modeling error. However, the
total amount of the labor savings sought did not change. This declaration focuses primarily on
the labor proposals put forward by the Company on August 16, 2012, which total $76.5 million
in annual savings. Over the course of negotiations, which are ongoing, the Company has
provided and continues to provide counter-proposals that would achieve the same total amount
of savings as the August 16 proposal, but through different combinations of cost-savings
initiatives, based on input from the unions. For example, on September 13, the Company
provided a new counter-proposal to AFA with certain key modifications, including a decrease in
the Company’s proposed initial pay cut from 5% to 2% and several work rule changes suggested
by AFA. However, these counter-proposals have not produced a consensual agreement with
AFA and ALPA, and can be expected to continue to evolve after the date of this declaration.




                                                    -10-
12-11343-reg       Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                          Pg 14 of 108



    to apportion the labor concessions to the various employee groups at the Company.

    Specifically, the Company needed to determine the level of savings required from each work

    group 5 to achieve the total initial cost gap of $42.6 million.6 The Company carefully

    considered how to reach the necessary savings through the most fair and equitable distribution

    of required savings across all work groups.

           19.   As part of this process, the Company conducted an analysis of its wage-related

    costs 7 compared to the DCI Carriers. 8 The Company compared each work group’s wage-

    related costs versus market pay rates, to determine relative industry wage competitiveness. In

    instances where one of Pinnacle’s work group’s wage costs were found to be above market,

    that work group’s costs were categorized as a driver of a cost disadvantage for the Company.

           20.   In Ex. 17, Determination of Ask by Employee Group, the row labeled “Pinnacle

    Base Wage-Related Costs Per Year” represents the Company’s average annual wage-related

    costs from 2013-2018, based on current labor contracts or pay-related costs as calculated in

    costing models built by the Company for each individual work group.

           21.   In the same document, the row labeled “Percentage (%) Wage-Related Costs Are

    Above (Below) DCI Average (in 2013)” represents a weighted average comparison of wage-

    related costs for 2013. For Pilots, the weighted average pay rate was calculated by applying

    the Company’s projected 2013 Pilot longevity distribution to DCI average pay rates. The DCI


5
 The five work groups in question are: Pilots (including Instructors), Flight Attendants,
Dispatchers, Salaried Employees and Non-Contract Hourly Employees.
6
    Required savings as calculated in the Company 2013-2018 Business Plan.
7
 Wage-related costs are all costs that move in concert with changes to wages: Wages, 401k,
FICA, Life Insurance, and Long Term Disability (LTD) insurance.
8
 The DCI Carriers included in the analysis are ExpressJet-CRJ (formerly Atlantic Southeast
Airlines), Comair, Compass Airlines, GoJet Airlines, Republic Airlines and SkyWest Airlines.



                                                  -11-
12-11343-reg       Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                           Pg 15 of 108



    average pay rates represent a straight average of DCI Carrier pay rates at each longevity step,

    by aircraft type. The analysis covers the two aircraft types operated by the Company: CRJ-

    200s and CRJ-900s.

           22.   The rate comparison analysis led to the conclusion that the Company’s wage-

    related costs for the Pilot work group are 6 percent above what they would be if the DCI

    average rates were used for 2013. The wage-related costs of all other work groups were found

    to be below the DCI average, ranging from -0.5 percent to -2.6 percent. 9

           23.   When that cost difference of 6 percent was applied to the Company’s Pilot wage-

    related costs, it resulted in an annual cost disadvantage of over $9 million. The results can be

    seen in the row labeled, “Value Of Cost Disadvantage (Advantage) vs. DCI Average” of Ex.

    17, Determination of Ask by Employee Group.

           24.   The Company also compared Pinnacle’s work rules to those of the DCI Carriers

    by comparing the respective labor contracts of each work group against all other DCI Carriers.

    The Company identified specific contractual provisions which, when compared to a majority of

    the DCI Carriers, were unfavorable; that is, Pinnacle’s work rules drove higher costs for the

    Company when compared to the work rules of the majority of DCI Carriers.

           25.   The costing attributed to such unfavorable provisions represents the annual cost to

    the Company of compliance therewith, as modeled in the Company’s costing models. The

    values are shown in the row labeled “Value Of Work Rule Disadvantage (advantage) vs. DCI

    Carriers” of Ex. 17, Determination of Ask by Employee Group.




9
 Industry benchmarks were not available for the Management work group. For the Non-
Contract Hourly work group, the industry comparisons were specifically for Mechanics.



                                                 -12-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13          Main Document
                                             Pg 16 of 108



             26.   The Company’s work rule analysis led to the conclusion that the Company’s Pilot

     labor contract drives more than $6.9 million in additional costs per year when compared to the

     labor contracts of other DCI Carriers. The Flight Attendant labor contract was determined to

     drive more than $230,000 in additional costs per year versus the Comparator Group.

             27.   The “Component Of Total ‘Ask’ From Mark-to-Market” row of Ex. 17,

     Determination of Ask by Employee Group, adds together the value of the wage-related cost

     comparison and the work rule comparison. It demonstrates that Pinnacle suffers from a $16

     million annual cost disadvantage vis-a-via other DCI carriers with respect to the Pilot work

     group. The equivalent over-market value for the Flight Attendants is approximately $85,000.

     The labor costs of the remaining work groups were found to be at or below market.

             28.   The Company distributed additional required savings based on the relative size of

     each work group cost base. The Company also considered its mark-to-market analysis and

     apportioned additional savings to match the total initial cost gap by seeking contributions from

     each work group in proportion to its all-in labor cost base. 10 The “Pinnacle Cost Base (SW&B

     all-in) Per Year” row in Ex. 17, Determination of Ask by Employee Group, shows each work

     group’s all-in cost base for a typical year. 11

             29.   Through an analysis to determine an equitable basis for dividing up the remaining

     labor savings needed, the Company found that a savings contribution of approximately 10

     percent of each work group’s respective cost base would achieve the target savings. After
10
   All-in labor costs include salaries, wages, and benefits whether wage-driven or headcount-
driven. Headcount-driven costs include medical, dental, worker’s compensation, vision, claims
reimbursement, stop-loss, benefits administration, Extended Sick Leave (ESL), post-retirement
health, benefits contra account, and loss of license insurance. Other costs include per diem.
11
  Pilots (including Instructors), and Flight Attendants are 2014 values from the Business Plan,
which is considered a steady state year. Dispatchers, Salaried, and Hourly are 2013-2018
average values from the Company’s costing models.



                                                       -13-
12-11343-reg        Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                            Pg 17 of 108



     further analysis was conducted to determine how each work group could practically contribute

     such savings, 12 the target contribution of the work groups ranged from 9.1 to 12 percent.

     These percentages are shown in dollar terms in the “Total Additional Ask Required After Mark-

     to-Market” row of Ex. 17, Determination of Ask by Employee Group. In the case of the Pilot

     work group, the additional savings beyond those calculated in the mark-to-market analysis

     represent 9.4 percent of the Pilot all-in labor cost base, or approximately $17.1 million

     annually. The percentages for all the labor groups can be seen in the “Additional Ask As % Of

     Cost Base” row of Ex. 17, Determination of Ask by Employee Group.

            30.   The “Total Ask Excluding Recent Concessions” row of Ex. 17, Determination of

     Ask by Employee Group, tallies the apportioned savings. 13 The final row in the spreadsheet,

     “Percentage (%) Of Total Ask,” shows each work group’s savings as a percentage of the total

     required savings from all work groups (that is, the $42.6 million).

            31.   The savings sought from the Pilot group represent 78 percent of total savings.

     The required savings from the Pilot work group represents the majority of savings due to that

     group’s uncompetitive wage rates, work rules and benefits, and the size of its “all-in” labor

     cost base relative to the other work groups.




12
   Certain cost saving initiatives were designed to apply across all work groups. The proposed
initiatives include a 5 percent wage reduction, new health care plan designs, a change to the
Company’s 401k matching policy, elimination of Extended Sick Leave (ESL) coverage, and an
employee contribution to the cost of Long Term Disability (LTD) insurance.
13
  Note that in order to determine required savings, two work groups were given credit for recent
concessions. The Salaried work group was credited $1.6 million for forgoing its 2012 COLA
increase, which represents run-rate savings. The Non-Contract Hourly Work Group was credited
$1.7 million for forgoing its 2012 merit increases, which also represent run-rate savings.



                                                    -14-
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 18 of 108



IV.   SUMMARY OF CONCLUSIONS: PINNACLE’S LABOR CONTRACTS ON THE
      WHOLE HAVE AMONG THE HIGHEST COSTS AND LOWEST
      PRODUCTIVITY AS COMPARED TO ITS COMPETITORS

        32.    As part of our analysis on pay, work rules, and benefits, I conducted a comparison

 of nearly every proposed pay, work rule, and benefit change. In Exhibits 1a through 8b, I

 analyzed Pinnacle’s current and proposed work rule and benefit items we have proposed to

 change and compared them to similar provisions at DCI and OAL carriers. If Pinnacle’s

 provision was more restrictive for Pinnacle than that of a competitor, the item is designated in

 red as “Pinnacle is Less Favorable.” If Pinnacle’s contract provision was less restrictive for

 Pinnacle than that of a competitor, the item is designated in green as “Pinnacle is More

 Favorable.” If Pinnacle’s contract provision was similar to that of its competition, the item is

 designated as “Pinnacle is Comparable.” The results of this analysis are identified in Exhibits

 1a through 8b and in the paragraphs within this section, below. This work is based on my

 personal analysis of the contract provisions and my experience as a negotiator of more than

 100 airline contracts. In addition, my analysis and conclusions in this declaration are also

 based on my experience as a former senior executive at a mainline carrier with intimate

 knowledge about how mainline partners select regional partners. My overall conclusion is that

 Pinnacle suffers from crippling disadvantages due to its uncompetitive works rules and

 benefits, as set forth in more detail below.

               1.      Compensation

        33.    Current Contract Terms. Pinnacle’s pilot pay scale is among the highest in the

 regional airline industry, and this disadvantage is only exacerbated by Pinnacle’s “seniority

 disadvantage” – i.e., the relatively high seniority of its pilots compared to those of other

 competitors – which leads to significantly higher costs. These disadvantages contribute to an

 unsustainable cost, particularly given competition from lower cost and younger airlines like


                                                -15-
12-11343-reg           Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                            Pg 19 of 108



     Compass and GoJet. 14 I have provided more detail on the specific cost disadvantages of the

     Pinnacle pay scales starting in paragraph 71 of this declaration.

            34.   Section 1113 Proposal. Pinnacle’s compensation proposal has three elements:

     (1) a new pay scale that is competitive with low cost regional airlines like Compass and GoJet;

     (2) a reduction in the Captain longevity scale from 18 years for the CRJ-200 and 20 years for

     the CRJ-900 to 12 years for each and a reduction in the First Officer longevity scale from 8

     years to 4 years; and (3) a new pay system whereby First Officers move to the first step on the

     Captain pay scale instead of carrying their longevity over with them when moving to the

     Captain position. These changes are necessary to address the extraordinarily high seniority at

     Pinnacle and to bring its costs in line with other DCI competitors. I have provided more detail

     of the Company’s proposals starting in paragraph 80 of the declaration.

                  2.      Work Rules

            35.   Current Contract Terms. Pinnacle’s pilot work rules are uncompetitive in

     various key respects. As explained in greater detail in Section VI of this declaration, many of

     Pinnacle’s pilot work rules significantly limit pilot productivity by a series of provisions,

     including works rules related to minimum day rigs, open time posting, duty days, and various

     others. Pinnacle is also uncompetitive with respect to the rules governing pilots’ ability to take

     time off – e.g., vacation accruals, vacation credit, extended sick leave, and use of FMLA,

     which are among the industry’s costliest and cannot be sufficiently monitored or managed

     under Pinnacle’s pilot contract. Taken together, these provisions result in lower pilot


14
   Currently, Compass operates 36 ERJ-175 aircraft. These ERJ-175s are multi-class aircraft
configured with 76 seats. As a DCI Carrier already flying ERJ-175 aircraft for Delta, Compass
is in a prime position to receive new growth opportunities as Delta begins to award additional
76-seat regional flying under its new pilot contract.



                                                   -16-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                        Pg 20 of 108



 productivity at Pinnacle compared to the Comparator Group and often require more pilots and

 more payable hours by Pinnacle than required by its competitors to fly comparable routes and

 aircraft. In Ex. 1a, Pinnacle Current Pilot Work Rules vs. DCI Carriers – More/Less Favorable

 Comparison, and Ex. 2a, Pinnacle Current Pilot Work Rules vs. OALs – More/Less Favorable

 Comparison, more than 40 different work rules at Pinnacle are evaluated against the

 comparable provisions at each of the 11 airlines in the Comparator Group. Because some

 airlines do not have a comparable work rule for every item, those individual comparisons were

 deemed “not applicable” and did not count toward the total number of comparisons. Against

 every comparator, regardless of whether it was a DCI carrier or an OAL carrier, the majority of

 the surveyed work rules are less favorable at Pinnacle. For example, when compared to low

 cost regional airline competitors GoJet and Compass, 32 (or 76 percent) and 25 (or 58 percent)

 of the comparable work rules, respectively, are more restrictive, or less favorable, to Pinnacle.

 Overall, in about 60 percent of the applicable comparisons (63 percent at DCI carriers),

 Pinnacle work rules were found to be less favorable to the Company than those of its

 competition. Only 17 percent of those work rules surveyed by Pinnacle are more favorable to

 the Company than those of other regional airlines. As explained above, the classification “less

 favorable” means that the work rule is more restrictive and thus, generally more costly to the

 Company.

        36.    Section 1113 Proposal. Pinnacle’s proposed work rules shift a number of the

 surveyed rules from being less favorable, to being comparable or more favorable than the work

 rules at the other carriers. Even taking into account Pinnacle’s 1113 proposal, only about half

 of the surveyed work rules are more favorable to Pinnacle than the other regional airlines. See

 Ex. 3a, Pinnacle Proposed Pilot Work Rules vs. DCI Carriers – More/Less Favorable




                                               -17-
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                         Pg 21 of 108



 Comparison, and Ex. 4a, Pinnacle Proposed Pilot Work Rules vs. OALs – More/Less

 Favorable Comparison. This shift will improve pilot productivity, placing Pinnacle on

 generally equal terms with the Comparator Group. The Company’s proposal helps Pinnacle

 narrow the productivity gap between Pinnacle and the Comparator Group.

      B.       Flight Attendants

               1.      Compensation

        37.    Current Contract Terms. As noted in Section VII of this declaration, Pinnacle’s

 flight attendant pay scale is on a par with other DCI and OAL regional airlines, although this

 does not take account of Pinnacle’s seniority disadvantage.

        38.    Section 1113 Proposal. Pinnacle is proposing a 5 percent pay cut for flight

 attendants – the same or lower than every other employee group – and a reduction in the

 longevity scale from 16 to 12 years. The reduction in the longevity scale will help Pinnacle

 address its seniority disadvantage to low cost regional airlines like Compass and GoJet.

               2.      Work Rules

        39.    Current Contract Terms. The following provisions constrain flight attendant

 productivity as compared to those of other DCI and OAL carriers: holiday pay, per diem,

 vacation accrual, pay and credit for recurring training, open time posting, customs credit, and

 minimum days for part-time flight attendants. Many of these and other flight attendant work

 rules result in higher costs and require Pinnacle to keep more flight attendants on the active

 payroll to cover its operational needs. I evaluated 18 work rules at Pinnacle against the

 comparable provisions at each of the 11 comparator airlines. See Ex. 5a, Pinnacle Current

 Flight Attendant Work Rules vs. DCI Carriers – More/Less Favorable Comparison, and Ex. 6a,

 Pinnacle Current Flight Attendant Work Rules vs. OALs – More/Less Favorable Comparison.

 Because some airlines do not have a comparable work rule for every item, those individual


                                               -18-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                        Pg 22 of 108



 comparisons were deemed “not applicable” and did not count toward the total number of

 comparisons. Against every comparator, the majority of the surveyed work rules are less

 favorable at Pinnacle. For example, when compared to GoJet and Compass, 57 percent and 67

 percent of the comparable work rules, respectively, are more restrictive, or less favorable to

 Pinnacle. In more than 63 percent of the applicable comparisons, Pinnacle was found less

 favorable than its regional airline competition.

        40.    Section 1113 Proposal. Pinnacle’s proposal will improve its flight attendant

 productivity and close the gap between Pinnacle and the Comparator Group. While some of

 the work rules shift from being less favorable to being comparable or more favorable under the

 proposed terms, the flight attendant work rules at Pinnacle will generally be in line with those

 of the Comparator Group. Forty-four percent of work rule comparisons will be more favorable

 at Pinnacle, but around 18 percent will still be more favorable at other airlines. The remaining

 38 percent of the individual comparisons indicate that Pinnacle’s work rules are comparable to

 the other regional airlines. The proposed modifications will place Pinnacle at a competitive

 position within the industry with respect to its work rules. See Ex. 7a, Pinnacle Proposed

 Flight Attendant Work Rules vs. DCI Carriers – More/Less Favorable Comparison; Ex. 8a,

 Pinnacle Proposed Flight Attendant Work Rules vs. OALs – More/Less Favorable

 Comparison.

      C.       Employee Benefits

        41.    Current Contract Terms: Medical Benefit Plans. Health care costs are a

 critical problem for employers in the United States. The airline industry is not immune from

 this problem, and the Comparator Group continues to attempt to address this by modifying plan

 designs and increasing employee contributions to health care plan premiums. Because health

 care plan design features are somewhat interdependent, it is difficult to assess whether discrete


                                               -19-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                        Pg 23 of 108



 plan design features are more or less favorable to Pinnacle. In my opinion, however, when

 comparing Pinnacle’s current active medical plan provisions to the plans offered by other DCI

 carriers and the OALs, Pinnacle’s employee contribution level is not competitive. Pinnacle’s

 employees currently contribute an average of about 26 percent toward their healthcare

 coverage (27 percent for the Open Access Plan (“OAP”); 25 percent for Health Reimbursement

 Arrangement Plan (“HRA”)). This is a smaller percentage than the contribution percentages

 required by many of the DCI and OAL airlines, especially for pilots.

        42.    Current Contract Terms: Future Retiree Medical Benefits. Currently,

 Pinnacle is one of the few regional airlines to offer medical plans to its retirees. Only two of

 the six other DCI carriers offer retiree medical benefits.

        43.    Current Contract Terms: Retirement Income Plans. As for retirement plans,

 Pinnacle’s current 401(k) plan is the most generous in the regional industry. At the top of

 scale, if an employee contributes 12.5 percent of his or her salary to the 401(k) plan, the

 Company is required to match the contribution. No other regional airline requires this level of

 company contribution.

        44.    Current Contract Terms: Profit Sharing Plan. Most airlines in the

 Comparator Group do not have detailed profit sharing plans in their contracts. Typically, profit

 sharing plans can be changed or modified at the discretion of the Company.

        45.    With very few exceptions, the benefit provisions at Pinnacle are currently less

 favorable than those of all of the Comparator Group. See Ex. 1b, Pinnacle Current Pilot

 Benefits vs. DCI Carriers – More/Less Favorable Comparison; Ex. 2b, Pinnacle Current Pilot

 Benefits vs. OALs – More/Less Favorable Comparison; Ex. 5b, Pinnacle Current Flight




                                               -20-
12-11343-reg         Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                            Pg 24 of 108



     Attendant Benefits vs. DCI Carriers – More/Less Favorable Comparison; Ex. 6b, Pinnacle

     Current Flight Attendant Benefits vs. OALs – More/Less Favorable Comparison.

            46.   Section 1113 Proposal. Pinnacle’s Section 1113 proposals covering active

     medical plans, retiree medical plans for future retirees, and retirement plans will put Pinnacle

     on par with the Comparator Group. Pinnacle’s proposed profit sharing plan for pilots and

     flight attendants would be the most generous in the regional airline industry and would

     guarantee employees a share in the future profits of the Company. 15

V.        CARRIERS IN BANKRUPTCY CANNOT AIM FOR “AVERAGE” CONTRACT
          PROVISIONS WHEN SEEKING LABOR COST REDUCTIONS

            47.   The Airline Deregulation Act of 1978 was expected to, and did, introduce intense

     competition in all segments of the U.S. airline industry. The first phase of deregulation, from

     1978 through September 11, 2001, led to dramatic changes in the industry. Many carriers who

     could not compete effectively simply failed – including those who were not able to lower their

     labor costs through consensual agreements with the historically strong airline labor unions.

     Over the past decade, however, even those carriers that had successfully navigated the first

     phase of deregulation have been challenged more harshly than ever before, both by increased

     competition and by external events beyond anyone’s expectation – especially the events of

     September 11, 2001 and their dramatic consequences for the aviation industry – as well as

     multiple recessions, wars, epidemics, tsunamis, and earthquakes, all combined with

     unprecedented increases and volatility in the price of fuel.


15
  American Eagle’s profit sharing plan agreed to in the recently ratified flight attendant
agreement and provided in the pilot Agreement in Principle (“AIP”) provides between 5 and 25
percent of a profit sharing pool for various levels of AE profit margins. Pinnacle’s proposal
provides 10 percent of a bonus pool for profit margins up to 4 percent and 15 percent for profit
margins above 4 percent.



                                                   -21-
12-11343-reg         Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                            Pg 25 of 108



            48.    These challenges have severely impacted the regional airline industry, creating an

     extremely difficult environment in which to operate during the past decade. Major airlines 16

     have dramatically reduced capacity since 2001, restructured their labor contracts, and sought

     cost savings from every aspect of their business. Thousands of mainline pilots have been

     furloughed, leaving regional airline pilots with few, if any, flying opportunities at mainline

     airlines, resulting in increased seniority at the regionals and corresponding higher payroll costs.

     With more senior pilots came union demands for higher pay, better benefit plans, and more

     restrictive work rules.

            49.    As the Executive Vice President and Chief Human Resources Officer at US

     Airways, I had firsthand experience with the Chapter 11 bankruptcy process as my former

     employer went through two court-sponsored restructurings. In addition, I have been involved

     with the bankruptcy proceedings of Hawaiian Airlines in 1993, Independence Air in 2005, and

     Frontier Airlines in 2008. I served as chief negotiator for all four of those carriers during their

     bankruptcy proceedings. In addition, I have advised several other airlines as they restructured

     their labor costs. As a result, I have become very familiar with the dynamics of collective

     bargaining during bankruptcy and how organized labor reacts to airline proposals for labor cost

     reductions.

            50.    What I learned at US Airways and observed by watching the restructurings at

     other airlines is that airline unions consistently argue that the carrier has asked for too much

     and that the labor cost reductions proposed by the carrier are not truly “necessary” for a

16
  According to the Code of Federal Regulations, there are three main carrier groupings. A
carrier’s classification to one of these groups is based upon the carrier’s level and nature of
operations, which is determined by its total operating revenues. Carriers with total annual
operating revenues of $1 billion or more are in “Carrier Group III,” often referred to as “Major
Airlines.”



                                                   -22-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                             Pg 26 of 108



     successful reorganization. Many times, eager for consensual agreements rather than

     confrontation, carriers have settled – at least initially – for less than what was truly needed,

     only to be forced by economic realities to return in relatively short order to the bargaining table

     for greater labor cost reductions.

          A.      Regional Carrier Labor Cost Reductions in Bankruptcy Over the Past
                  Decade

            51.   In the past decade, three regional carriers have filed for and subsequently emerged

     from Chapter 11 bankruptcy protection. Comair filed in September 2005 and emerged in April

     2007; Mesaba filed in October 2005 and emerged in April 2007; and Mesa filed in January

     2010 and emerged in March 2011. 17 While Mesa did not need labor concessions during its

     restructuring because the terms of its collective bargaining agreements were already at the

     bottom of the industry, Comair and Mesaba each achieved concessionary agreements with their

     labor groups. In addition to these three in the past decade, Piedmont and PSA were

     restructured during the initial US Airways bankruptcy just over 10 years ago. While these two

     subsidiaries of US Airways participated by taking minimal cuts during the initial bankruptcy

     filing, any additional cuts were deemed to be relatively insignificant to the big picture and,

     therefore, additional cuts were not taken in subsequent rounds of restructuring. Finally,

     American Eagle filed for Chapter 11 bankruptcy protection as a result of the American Airlines

     filing on November 29, 2011, but has not yet emerged and the final result of its restructuring

     has yet to be determined.

17
  This list does not include Independence Air, which filed under Chapter 11 in November 2005
but subsequently filed under Chapter 7 and ceased operations in January 2006, or Gulfstream
International Airlines, which filed for Chapter 11 in November 2010 and was subsequently
purchased by asset management company Victory Park Capital and was rebranded Silver
Airways. It also does not include carriers that went straight to Chapter 7: CCAir, Midway,
Chicago Express, and Great Plains Airlines.



                                                    -23-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13                Main Document
                                             Pg 27 of 108



             52.   Unlike the mainline carriers, (see paragraphs 54-56) when Comair and Mesaba

     negotiated and settled with labor just prior to or during bankruptcy, the resulting pay rates,

     work rules, and benefits did not greatly effect their relative standing in most areas and

     generally did not end up at the “bottom of the pack” when compared to their peer set. In the

     case of Comair, the initial round of restructuring with its pilots and flight attendants did not

     give it the level of relief necessary to emerge from bankruptcy with a healthy enough structure,

     resulting in an additional round of labor concessions. While this demonstrates the importance

     of gaining sufficient labor cost reductions during restructuring in order to eliminate the need to

     go through additional painful rounds of concessions, even going through two rounds of

     restructuring ultimately proved insufficient to save the airline. Comair’s shutdown has been

     attributed to its aging aircraft, cost structure, and the bleak outlook for 50-seat regional

     flying. 18 Pinnacle finds itself facing the same challenges and must act decisively to avoid a

     fate similar to Comair.

             53.   To illustrate the point that regional airlines have generally emerged from

     bankruptcy with pay and other provisions which did not provide sufficient cuts to sustain their

     business plan, I took the pre-bankruptcy pay rates of Comair and Mesaba and compared them

     to their rates after their restructurings. In general, the airlines’ relative position within their

     peer set dropped only a few positions. In addition to pay rates, I looked at other measurable

     work rule and benefit provisions of the two carriers both pre-bankruptcy and post-restructuring.


18
   “The discontinuation of Comair’s operations is in no way a failure or a reflection of your work
– it is an unfortunate necessity due to the economic limitations of our aging aircraft, cost
structure, the long-term outlook for 50-seat aircraft, and our challenging industry and economy,”
Comair President Ryan Gumm said in a memo that announced the shutdown to workers. See
Mem. from Ryan Gumm to all Comair employees, dated July 27, 2012, available at
http://travel.usatoday.com/flights/post/2012/07/full-text-delta-comair-memo/813348/1.



                                                     -24-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 28 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 29 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 30 of 108
12-11343-reg        Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                            Pg 31 of 108



     For example, United had the second highest top-of-scale Captain rates for large narrow body

     aircraft (B757 or B737 depending on the airline) among a peer set of seven airlines (Alaska,

     American, Delta, Continental, Northwest, United, and US Airways). After its restructurings,

     United’s top-of-scale Captain pay dropped to the sixth highest out of the seven. Ex. 10a,

     United Captain Narrowbody Top of Scale Pre- and Post-Bankruptcy (reproduced below). For

     flight attendants, United’s top-of-scale pay dropped from the fifth lowest to the sixth lowest.

     Ex. 10b, United Domestic Flight Attendant Top of Scale Pre- and Post-Bankruptcy

     (reproduced below). 20




          Ex. 10a, United Captain Narrowbody Top of Scale Pre- and Post-Bankruptcy.




20
  See Ex. 11 regarding United mechanics and fleet service employees; Ex. 12 regarding Delta
groups; Ex. 13 regarding Northwest groups; Ex. 14 regarding US Airways groups.



                                                   -28-
12-11343-reg         Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13          Main Document
                                          Pg 32 of 108




      Ex. 10b, United Domestic Flight Attendant Top of Scale Pre- and Post-Bankruptcy.



          56.   Equally painful changes were made in work rules and benefits, so the pattern

 requiring the airline to move aggressively to restructure labor costs has been consistent

 throughout the industry. See Ex. 15, Mainline Airline Work Rules Pre- and Post-Bankruptcy;

 Ex. 16, Mainline Airline Retirement Pre- and Post-Bankruptcy.

                1.      US Airways: Four Rounds of Concessions Over Two Bankruptcies

          57.   First Bankruptcy (2002-2004). The first of the legacy carriers to file for

 bankruptcy in the past decade was US Airways. Prior to filing in August 2002, the company

 asked its labor unions for $850 million in concessions through a combination of wage, benefit,

 and work rule modifications including: (1) rollback of wages to 1998 levels; (2) reduction in

 pension plan benefits; (3) redesign of health and welfare benefit plans to provide, among other

 things, a single national medical insurance program for all employees; and (4) modifications in

 work rules to increase productivity.

      •         First Round of Concessions. US Airways reached agreements with two of its
                three major unions prior to bankruptcy, accepting cost reductions totaling 85


                                               -29-
12-11343-reg      Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 33 of 108



                percent of the company’s “ask.” The company agreed to similar terms with the
                third union shortly after filing for bankruptcy. The pilots’ agreement loosened
                scope clause restrictions, permitting the company’s code sharing partners to fly up
                to 315 medium (45-50 seat) or large (51-70 seat) regional jets (RJ).

      •         Second Round of Concessions. Ongoing operating losses quickly made it
                apparent, however, that these agreements did not provide the company with the
                necessary cost levels. Nor had the labor agreements addressed the huge liabilities
                arising from US Airways’ Defined Benefit plan (“DB plan”). As a result, in
                December 2002, US Airways went back to the bargaining table and reached
                agreements with each of the three unions for the additional 15 percent in savings
                the company had sought, but not achieved, from its original proposals during the
                Summer 2002. This second round of voluntary restructuring agreements with all
                of its unions netted another $200 million in labor cost savings, largely from
                changes in work rules and health benefits – although pilots took an additional 8
                percent pay reduction on top of the previous cut of 26 to 37.4 percent.

      •         Third Round of Concessions. The December 2002 concessions did not resolve
                the future of US Airways’ DB plans. The company soon realized it could not
                survive without terminating its DB plans. In March 2003, the company reached
                an agreement with ALPA to terminate its DB plan, but the DB plans covering
                other work groups remained in effect.

          58.   In sum, over the span of less than 10 months, US Airways negotiated three

 concessionary agreements with ALPA and two with each of its other unions. A subsequent

 letter of agreement between the two bankruptcies permitted the 76-seat RJ to begin operating at

 the code sharing partners operating as US Airways Express.

          59.   Second Bankruptcy (2004-2005). About 18 months after emerging from its first

 Chapter 11 proceeding, US Airways filed for a second time, announcing that it needed $900

 million per year in labor cost reductions in addition to those obtained during its first

 bankruptcy case. US Airways sought and obtained court approval under Section 1113(e) for a

 4-month, 21 percent reduction in pay and related savings. Many months later, between

 September 2004 and January 2005, US Airways’ unions agreed to new contracts, called

 “Transformation Agreements,” which provided for slightly lower pay reductions in exchange

 for more productivity through work rule changes. Among other things, these agreements:



                                               -30-
12-11343-reg             Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                              Pg 34 of 108



          •         removed many restrictions on outsourcing, which resulted in the elimination of
                    approximately one-third of the mechanics (almost 1,000 positions), fifteen percent
                    of the stock clerks (61 positions), nearly all utility workers (975 jobs), and 700
                    Fleet Service positions when ground handling was outsourced at 21 stations;

          •         provided for termination of all the rest of the employees’ remaining DB pension
                    plans; and

          •         further loosened restrictions in the pilots’ scope clause, permitting 60 Regional
                    Jets to be flown with between 90 and 97 seats. Today, US Airways can operate
                    more than 295 regional aircraft with more than 50 seats.

              60.   In sum, the restructuring of US Airways was an incredibly painful process, but for

     the 25,000 employees who retained their jobs in the hopes that the airline would once again be

     profitable, it proved to be the right decision. In September 2005, US Airways and America

     West Airlines merged. Today, the combined airline is profitable and projects a secure future.

                    2.      United Airlines: Three Years in Bankruptcy With Two Rounds of
                            1113 Motions

              61.   United Airlines entered Chapter 11 in December 2002 and quickly obtained

     interim relief pursuant to Section 1113(e).21 In March 2003, United filed its Section 1113




21
   United’s pilots and flight attendants agreed to interim wage reductions (pilots: 29 %; flight
attendants: 9 %), Mem. in Support of the Debtors’ Motion for Interim Relief from their
Collective Bargaining Agreements with the IAM Pursuant to Section 1113(e) at 6, In re UAL
Corp., No. 02-B-48191 (N.D. Ill. Jan. 8, 2003), and the Court granted interim relief as to IAM-
represented agents, mechanics, and fleet service employees (13 percent). Order Authorizing
Interim Relief from the Debtors’ Collective Bargaining Agreements with the IAM Pursuant to
11 U.S.C. § 1113(e) at 2 ¶ 5(b), In re UAL Corp., No. 02-B-48191 (N.D. Ill. Jan. 10, 2003). The
pay cuts saved enough money to help meet immediate requirements of debtor-in-possession
financing and provide breathing room for negotiations of permanent restructuring agreements.
Mem. in Support of Debtors’ Motion to Reject their Collective Bargaining Agreements Pursuant
to Section 1113(c) at 11, In re UAL Corp., No. 02-B-48191 (N.D. Ill. Mar. 17, 2003). In
exchange, United agreed to defer filing its 1113 Motion to Reject for an additional ten weeks.
Mem. in Support of the Debtors’ Motion for Interim Relief from their Collective Bargaining
Agreements with the IAM Pursuant to Section 1113(e) at 10, Ex. B at 3-4 ¶ 9, Ex. B at 5 ¶ 13, In
re UAL Corp., No. 02-B-48191 (N.D. Ill. Jan. 8, 2003).



                                                    -31-
12-11343-reg         Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                            Pg 35 of 108



     motion, seeking total labor cost reductions per year of $2.56 billion, including $1.1 billion in

     annual savings from pilots alone. 22

            62.   First Round of Concessions: Spring 2003. In March and April 2003, the first

     round of permanent restructuring agreements was reached with all union groups, yielding $2.2

     billion in annual cost reductions. 23 These agreements continued the deep pay cuts of the

     interim agreements, 24 but also contained fundamental changes in work rules to achieve savings

     through greater productivity and efficiency. United’s pilots agreed to reduce or eliminate

     many of the restrictions in their Scope Clause, including the total ban on flying 70-seat RJs. 25

     As a result, today United can operate an unlimited number of regional aircraft of up to 70 seats.

     In addition, United’s pilots and flight attendants agreed to substantial productivity

     improvements, including:

22
  Mem. in Support of Debtors’ Motion to Reject their Collective Bargaining Agreements
Pursuant to Section 1113(c) at 2, In re UAL Corp., No. 02-B-48191 (N.D. Ill. Mar. 18, 2003);
Proposed Changes to Airline Pilots Association (ALPA) Agreement for Pilots at 1, In re UAL
Corp., No. 02-B-48191 (N.D. Ill. Mar. 17, 2003).
23
  Debtors’ Agreed-To Motion to Approve the Modifications to their Collective Bargaining
Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots Association,
Association of Flight Attendants, International Association of Machinists and Aerospace
Workers, Professional Airline Flight Controllers Association, and the Transport Workers Union
and to Withdraw their Section 1113(c) Motion at 2-3 ¶¶ 5-8, 6 ¶ 14, In re UAL Corp., No. 02-B-
48191 (N.D. Ill. Apr. 30, 2003).
24
  Debtors’ Agreed-To Motion to Approve the Modifications to their Collective Bargaining
Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots Association,
Association of Flight Attendants, International Association of Machinists and Aerospace
Workers, Professional Airline Flight Controllers Association, and the Transport Workers Union
and to Withdraw their Section 1113(c) Motion at 8 ¶ 19, 11 ¶ 26, 14 ¶ 32, 17 ¶ 44, 18 ¶ 47, In re
UAL Corp., No. 02-B-48191 (N.D. Ill. Apr. 30, 2003).
25
  Debtors’ Agreed-To Motion to Approve the Modifications to their Collective Bargaining
Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots Association,
Association of Flight Attendants, International Association of Machinists and Aerospace
Workers, Professional Airline Flight Controllers Association, and the Transport Workers Union
and to Withdraw their Section 1113(c) Motion at 10 ¶ 24, In re UAL Corp., No. 02-B-48191
(N.D. Ill. Apr. 30, 2003).



                                                   -32-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                        Pg 36 of 108



       •       decreasing the amount of credit for hours not actually flown; 26

       •       increasing the scheduled maximum; 27

       •       decreasing the monthly guarantee; 28

       •       eliminating or reducing a variety of pay premiums; 29

       •       changing the vacation scheduling system so that employees were paid only for the
               days they were on vacation and could no longer stretch out their vacation to get
               paid for all trips missed due to the vacation; 30



26
  Proposed Changes to Air Line Pilots Association (ALPA) Agreement for Pilots at 12-13, In re
UAL Corp., No. 02-B-48191 (N.D. Ill. Mar. 17, 2003); Proposed Changes to Association of
Flight Attendants (AFA) Agreement for Flight Attendants at 24, In re UAL Corp., No. 02-B-
48191 (N.D. Ill. Mar. 17, 2003); Debtors’ Agreed-To Motion to Approve the Modifications to
their Collective Bargaining Agreements Pursuant to the Restructuring Agreements with the Air
Line Pilots Association, Association of Flight Attendants, International Association of
Machinists and Aerospace Workers, Professional Airline Flight Controllers Association, and the
Transport Workers Union and to Withdraw their Section 1113(c) Motion Ex. B at 9, Ex. C at 16,
In re UAL Corp., No. 02-B-48191 (N.D. Ill. Apr. 30, 2003).
27
  Debtors’ Agreed-To Motion to Approve the Modifications to their Collective Bargaining
Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots Association,
Association of Flight Attendants, International Association of Machinists and Aerospace
Workers, Professional Airline Flight Controllers Association, and the Transport Workers Union
and to Withdraw their Section 1113(c) Motion at 9 ¶ 21, 12 ¶ 28, In re UAL Corp., No. 02-B-
48191 (N.D. Ill. Apr. 30, 2003).
28
  Proposed Changes to Air Line Pilots Association (ALPA) Agreement for Pilots at 47-48, In re
UAL Corp., No. 02-B-48191 (N.D. Ill. Mar. 17, 2003); Proposed Changes to Association of
Flight Attendants (AFA) Agreement for Flight Attendants at 20, In re UAL Corp., No. 02-B-
48191 (N.D. Ill. Mar. 17, 2003); Debtors’ Agreed-To Motion to Approve the Modifications to
their Collective Bargaining Agreements Pursuant to the Restructuring Agreements with the Air
Line Pilots Association, Association of Flight Attendants, International Association of
Machinists and Aerospace Workers, Professional Airline Flight Controllers Association, and the
Transport Workers Union and to Withdraw their Section 1113(c) Motion at Ex. B at 14, In re
UAL Corp., No. 02-B-48191 (N.D. Ill. Apr. 30, 2003).
29
  Debtors’ Agreed-To Motion to Approve the Modifications to their Collective Bargaining
Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots Association,
Association of Flight Attendants, International Association of Machinists and Aerospace
Workers, Professional Airline Flight Controllers Association, and the Transport Workers Union
and to Withdraw their Section 1113(c) Motion Ex. B at 6; Ex. C at 5; In re UAL Corp., No. 02-
B-48191 (N.D. Ill. Apr. 30, 2003).



                                               -33-
12-11343-reg          Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                             Pg 37 of 108



          •         replacing 5 separate health plans with one redesigned plan, with higher employee
                    contributions. 31

              63.   For ground employees, the International Association of Machinists and Aerospace

     Workers, District 143 (“IAM”) agreed to greater flexibility to use part-time fleet service

     workers 32 and permitted the disposition of the company’s Oakland and Indianapolis

     maintenance facilities,33 resulting in the furlough of approximately 1,200 mechanics from the


30
  See Proposed Changes to Air Line Pilots Association (ALPA) Agreement for Pilots at 18-19,
In re UAL Corp., No. 02-B-48191 (N.D. Ill. Mar. 17, 2003); Proposed Changes to Association of
Flight Attendants (AFA) Agreement for Flight Attendants at 38-39, In re UAL Corp., No. 02-B-
48191 (N.D. Ill. Mar. 17, 2003); Debtors’ Agreed-To Motion to Approve the Modifications to
their Collective Bargaining Agreements Pursuant to the Restructuring Agreements with the Air
Line Pilots Association, Association of Flight Attendants, International Association of
Machinists and Aerospace Workers, Professional Airline Flight Controllers Association, and the
Transport Workers Union and to Withdraw their Section 1113(c) Motion Ex. B at 3; Ex. C at 17;
In re UAL Corp., No. 02-B-48191 (N.D. Ill. Apr. 30, 2003).
31
  Proposed Uniform Employee Benefits Plan at 6, In re UAL Corp., No. 02-B-48191 (N.D. Ill.
Mar. 17, 2003); Debtors’ Agreed-To Motion to Approve the Modifications to their Collective
Bargaining Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots
Association, Association of Flight Attendants, International Association of Machinists and
Aerospace Workers, Professional Airline Flight Controllers Association, and the Transport
Workers Union and to Withdraw their Section 1113(c) Motion at 9 ¶ 20, 11 ¶ 27, In re UAL
Corp., No. 02-B-48191 (N.D. Ill. Apr. 30, 2003).
32
  Debtors’ Agreed-To Motion to Approve the Modifications to their Collective Bargaining
Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots Association,
Association of Flight Attendants, International Association of Machinists and Aerospace
Workers, Professional Airline Flight Controllers Association, and the Transport Workers Union
and to Withdraw their Section 1113(c) Motion at 14-15 ¶ 35, In re UAL Corp., No. 02-B-48191
(N.D. Ill. Apr. 30, 2003); Restructuring Agreement Amendment 2003-2009 For The Ramp and
Stores Between United Air Lines, Inc. and District Lodge 141 International Association of
Machinists And Aerospace Workers at 9 Art. VI.B (May 1, 2003).
33
  Debtors’ Agreed-To Motion to Approve the Modifications to their Collective Bargaining
Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots Association,
Association of Flight Attendants, International Association of Machinists and Aerospace
Workers, Professional Airline Flight Controllers Association, and the Transport Workers Union
and to Withdraw their Section 1113(c) Motion at 15 ¶ 36, In re UAL Corp., No. 02-B-48191
(N.D. Ill. Apr. 30, 2003); UAL/IAMAW District 141M Restructuring Agreement Amendment
2003—2009 Mechanics, Fleet Technical Instructors, and Maintenance Instructors at 7-8 Art. II-
D (July 11, 2003).



                                                   -34-
12-11343-reg         Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                            Pg 38 of 108



     closure of the Indianapolis facility alone. 34 In addition, the IAM agreed to allow contracting

     out of certain heavy maintenance visits and to eliminate a restriction on the outsourcing of

     work that would result in the furlough of any IAM employee. 35

            64.   Second Round of Concessions: November 2004. Approximately 18 months

     after achieving its first round of labor cost reductions – and during the same bankruptcy

     proceeding – in November 2004, United filed Section 1113 motions for the second time,

     stating it needed an additional $725 million per year in labor cost savings. 36 Pilot pay rates

     were cut by an additional 11.8 percent, but the bulk of the savings were achieved from benefit

     changes and work rule changes. 37 In addition to the $725 million of direct labor cost




34
   Louis Uchitelle, “Retraining Laid-Off Workers, but for What?” NEW YORK TIMES ONLINE
(Mar. 26, 2006) available at
http://www.nytimes.com/2006/03/26/business/yourmoney/26lou.html?_r=1&pagewanted=print;
Bloomberg BNA Daily Labor Report, “Furlough Benefits Granted to Mechanics At Indianapolis
Site Under United Settlement,” 65 DLR A-10 (Apr. 4, 2003).
35
  Debtors’ Agreed-To Motion to Approve the Modifications to their Collective Bargaining
Agreements Pursuant to the Restructuring Agreements with the Air Line Pilots Association,
Association of Flight Attendants, International Association of Machinists and Aerospace
Workers, Professional Airline Flight Controllers Association, and the Transport Workers Union
and to Withdraw their Section 1113(c) Motion at 15 ¶ 36, In re UAL Corp., No. 02-B-48191
(N.D. Ill. Apr. 30, 2003); UAL/IAMAW District 141M Restructuring Agreement Amendment
2003—2009 Mechanics, Fleet Technical Instructors, and Maintenance Instructors at 7-8 Art. II-
D (July 11, 2003).
36
  Debtors’ Motion for Authority to Reject Their Collective Bargaining Agreements Pursuant to
Section 1113(c) at 3 ¶ 4, In re UAL Corp., No. 02-B-48191 (N.D. Ill. Nov. 24, 2004).
37
  See Debtors’ Emergency Motion to Approve Agreements Modifying their Collective
Bargaining Agreements with (A) The Air Line Pilots Association; (B) The Association of Flight
Attendants; and (C) The Aircraft Mechanics Fraternal Association at 5 ¶ 10, In re UAL Corp.,
No. 02-B-48191 (N.D. Ill. Jan. 19, 2005); Mem. in Support of the Debtors’ Emergency Motion
for Interim Relief from their Collective Bargaining Agreement with AMFA Pursuant to Section
1113(e) at 4, 13, In re UAL Corp., No. 02-B-48191 (N.D. Ill. Jan. 31, 2005).



                                                   -35-
12-11343-reg           Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                            Pg 39 of 108



     reductions realized from changes to the labor contracts, the PBGC reached a settlement with

     United, agreeing to the involuntary termination of all of United’s DB pension plans.38

                  3.      Delta Airlines: Two Rounds of Concessions – Once Before
                          Bankruptcy and Again During Bankruptcy

            65.   Pre-Bankruptcy Concessions. 39 Beginning in early 2003, Delta asked its pilot

     union for an immediate $600 million pay cut, pension changes, and other concessions, together

     totaling $1 billion. 40 These negotiations extended until Delta was on the brink of a bankruptcy

     filing in October 2004. 41 At that point, Delta’s pilots, represented by ALPA, agreed to a

     restructuring plan that saved Delta $1 billion per year, including a 32.5 percent pay cut and

     numerous changes in pilot work rules, resulting in greater efficiencies in staffing and

     scheduling. 42




38
 Debtors’ Emergency Motion to Approve Agreement with PBGC at 1 ¶ 1, In re UAL Corp.,
No. 02-B-48191 (N.D. Ill. Apr. 26, 2005).
39
   With the exception of pilots and dispatchers, Delta’s employees are largely nonunion. Decl. of
Geraldine P. Carolan in Support of Motion to Reject ALPA Collective Bargaining Agreement at
4-5 ¶ 7, In re Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y. Nov. 1, 2005). As a result,
Delta was able to effectuate much of its labor cost restructuring unilaterally. See Mem. in
Support of Motion to Reject ALPA Collective Bargaining Agreement at 1-2, In re Delta Air
Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y. Nov. 1, 2005). Delta also outsources much of its
ground handling and maintenance work to its affiliate DAL Global Services and to independent
companies. See Marilyn Adams, Delta to outsource more jet maintenance, USA TODAY, March
29, 2005, available at http://www.usatoday.com/money/biztravel/2005-03-29-delta-cuts_x.htm;
see also Press Release, Airport Terminal Services, ATS Announces Delta Contract Award in
RSW (Aug. 1, 2005), available at http://www.atsstl.com/news_item.asp?newsID=27. Thus,
Delta was able to accomplish pre-bankruptcy many of the cost reductions that other airlines had
to achieve in the 1113 process with their fleet service and mechanics unions.
40
  Decl. of Geraldine P. Carolan in Support of Motion to Reject ALPA Collective Bargaining
Agreement at 18-19 ¶¶ 26-27, In re Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y. Nov. 1,
2005).
41
     Id. at 19 ¶ 28.
42
     Id. at 19-20 ¶¶ 28-29.



                                                  -36-
12-11343-reg           Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13          Main Document
                                              Pg 40 of 108



              66.    Further Concessions During Bankruptcy. Less than one year later, Delta’s

     pilot and other labor cost reductions proved insufficient, and on September 14, 2005, Delta

     filed for bankruptcy protection.43 Upon filing, Delta announced that it planned to lay off

     between 7,000 to 9,000 of its 52,000 employees in bankruptcy. 44 In November 2005, Delta

     filed a Section 1113 motion to reject the pilot and dispatcher collective bargaining

     agreements. 45 Delta proposed additional pilot labor cost reductions of $325 million per year. 46

     In April 2006, Delta and ALPA 47 reached an agreement that saved Delta an additional $280

     million per year, 48 including:

          •          an additional 14 percent pay cut;49

          •          agreement that the pilots would not oppose termination of their Defined Benefit
                     plan; 50

43
  Voluntary Petition for Bankruptcy, In re Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y.
Sep. 14, 2005).
44
  Second Decl. of Edward H. Bastian in Support of Motion to Reject ALPA Collective
Bargaining Agreement at 15 ¶ 30, In re Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y.
Nov. 1, 2005).
45
  Motion to Reject ALPA Collective Bargaining Agreement, In re Delta Air Lines, Inc., No. 05-
17923 (PCB) (S.D.N.Y. Nov. 1, 2005).
46
     Id. at 2 ¶ 6.
47
  In 2005, Delta’s flight superintendents (dispatchers), represented by the Professional Airline
Flight Control Association (PAFCA), agreed to concessions and a freeze of its DB plan. See
Delta’s Reply in Support of Motion to Reject ALPA Collective Bargaining Agreement at 5, In re
Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y. Nov. 14, 2005).
48
  Debtors’ Motion Pursuant to Section 363 of the Bankruptcy Code for Authority to Enter into
Amendments to Pilot Working Agreement with Air Line Pilots Association, International at 5,
11, In re Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y. May 9, 2006).
49
  Debtors’ Motion Pursuant to Section 363 of the Bankruptcy Code for Authority to Enter into
Amendments to Pilot Working Agreement with Air Line Pilots Association, International at 5,
12, In re Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y. May 9, 2006).
50
  Debtors’ Motion Pursuant to Section 363 of the Bankruptcy Code for Authority to Enter into
Amendments to Pilot Working Agreement with Air Line Pilots Association, International at 6,
14, In re Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y. May 9, 2006).



                                                     -37-
12-11343-reg              Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                               Pg 41 of 108



          •          changes to the pilot scope clause to permit Delta to greatly increase its regional jet
                     connections, up to 200 70-seat and 76-seat jets. 51

                     4.      Northwest Airlines: Two Rounds of Labor Cost Reduction
                             Agreements – Once Pre-Bankruptcy and Once During Bankruptcy

              67.    Pre-Bankruptcy Labor Cost Reductions. Northwest sought consensual labor

     cost reductions from each of its unions in 2003 and 2004. 52 Northwest achieved the first step

     of its labor cost restructuring in December 2004 when ALPA agreed to consensual cost

     reductions of $265 million per year, primarily from a 15 percent pay cut. 53 The parties called

     this agreement a “Bridge Agreement” because of their understanding that further labor cost

     reductions might be necessary once Northwest’s other unions agreed to reductions. 54

     Subsequently, in August 2005, Northwest’s AMFA-represented mechanics launched an

     unsuccessful strike. 55 In response, Northwest implemented labor cost savings of $203 million

     a year, largely from contracting out the vast majority of its line and base maintenance. 56 As a




51
  Debtors’ Motion Pursuant to Section 363 of the Bankruptcy Code for Authority to Enter into
Amendments to Pilot Working Agreement with Air Line Pilots Association, International at 6,
13, In re Delta Air Lines, Inc., No. 05-17923 (PCB) (S.D.N.Y. May 9, 2006).
52
  Decl. of Douglas M. Steenland at 4-5 ¶ 8, In re Northwest Airlines Corp., No. 05-17930-alg
(S.D.N.Y. Sep. 14, 2005).
53
  Id. at 17 ¶ 28; Decl. of Daniel M. Kasper in Support of Northwest’s Application to Reject
Collective Bargaining Agreements Pursuant to Section 11 U.S.C. § 1113(c) and Northwest’s
Application to Modify Retiree Benefits Pursuant to Section 11 U.S.C. § 1114(f) and (g) at 7, In
re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. Dec. 20, 2005).
54
  Decl. of Douglas M. Steenland at 17 ¶ 28, In re Northwest Airlines Corp., No. 05-17930-alg
(S.D.N.Y. Sep. 14, 2005).
55
     Id. at 5 ¶ 8.
56
  Northwest’s Application to Reject Collective Bargaining Agreements Pursuant to 11 U.S.C.
§ 1113(c) at 27, n.29, In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. Oct. 12,
2005).



                                                      -38-
12-11343-reg            Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                               Pg 42 of 108



     result, Northwest’s mechanics workforce decreased from 4,400 in August 2005 to 880 in

     December 2005. 57

               68.    Further Labor Cost Reductions During Bankruptcy. Northwest filed for

     bankruptcy on September 14, 2005 (the same day that Delta filed). 58 In its filing, Northwest

     said it required labor cost reductions of $1.4 billion per year, including the $265 million in

     pilot concessions achieved in 2004. 59 Northwest filed a Section 1113 Motion on October 12,

     2005 to reject all of its labor contracts. 60 Prior to a ruling on the motion:

           •          In March 2006, ALPA reached agreement for a second permanent restructuring
                      agreement, providing $358 million in annual cost savings and removed
                      restrictions that had banned (with limited exceptions) regional jets with over 55
                      seats, and had capped the number of 50-seat RJs at 104. 61 These changes were in
                      addition to (a) the $265 million per year achieved in a pre-petition agreement and
                      (b) agreement to freeze the pilots’ Defined Benefit pension plan. 62

           •          In March 2006, IAM-represented agents and clerical workers approved a long-
                      term restructuring agreement; 63 and in June 2006, ramp workers approved a long-

57
  See John Schmeltzer, Deal set to end Northwest strike, CHICAGO TRIBUNE, Oct. 10, 2006
available at http://articles.chicagotribune.com/2006-10-10/business/0610100275_1_aircraft-
mechanics-fraternal-association-mechanics-at-united-airlines-layoff-status.
58
  Voluntary Petition for Bankruptcy, In re Northwest Airlines Corp., No. 05-17930-alg
(S.D.N.Y. Sep. 14, 2005).
59
  Northwest’s Application to Reject Collective Bargaining Agreements Pursuant to 11 U.S.C.
§ 1113(c) at 50-51, In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. Oct. 12, 2005).
60
  Northwest’s Application to Reject Collective Bargaining Agreements Pursuant to 11 U.S.C.
§ 1113(c), In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. Oct. 12, 2005).
61
  Debtors’ Motion Pursuant to Federal Rule of Bankruptcy Procedure 9019 for Approval of
Compromise and for Relief Under Section 1113(c) of the Bankruptcy Code and Approval of
Agreements with the Airline Pilots Association, International (“ALPA”) at 8-9 ¶ 20, In re
Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. May 31, 2006).
62
     Id. at 6 ¶ 13.
63
  Debtors’ Motion Pursuant to Federal Rule of Bankruptcy Procedure 9019 for Approval of
Compromise and for Relief under Section 1113(c) of the Bankruptcy Code and Approval of
Agreements with the IAM at 6 ¶ 13, In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y.
June 2, 2006).



                                                     -39-
12-11343-reg            Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13          Main Document
                                               Pg 43 of 108



                      term restructuring agreement. 64 In total these IAM restructuring agreements
                      saved a combined total of $191 million per year. 65

          •           Flight attendants rejected two tentative agreements which would have saved the
                      company an additional $195 million per year.66 The Bankruptcy Court then
                      granted Northwest’s Motion to Reject the flight attendant agreement and
                      Northwest implemented cost savings of $195 million per year. 67 Nearly a year
                      later, flight attendants finally approved a permanent restructuring agreement
                      saving the Company $195 million per year. 68

In sum, during bankruptcy, pilot pay was cut by an additional 28 percent, flight attendant pay by

21 percent and, for these groups, Northwest also achieved numerous work rule changes to secure

greater productivity, including increasing the maximum number of hours and reducing pay for

“soft time.” At the same time, the IAM-represented office, clerical, fleet, and passenger service

employees contributed with pay cuts of 11.5 percent and agreed to enhanced productivity,

including increased use of part-time and subcontracting. 69 To deal with unfunded pension



64
     Id. at 6 ¶ 15.
65
  The Labor Relations Advisor, “Northwest and IAM Ramp Workers Reach Agreement”
(March 2006), available at http://www.fhsolutionsgroup.com/files/LABOR_REL_JUNE06.pdf.
66
  Debtors’ Mem. of Points and Authorities in Opp. to the Association of Flight Attendants-
CWA’s Motion for Relief from the Judgment and Order Authorizing Debtors to Reject their
Collective Bargaining Agreement covering Flight Attendants, at 7-8, In re Northwest Airlines
Corp., No. 05-17930-alg (S.D.N.Y. March 2, 2007).
67
   See id. Northwest’s proposals on early out program, profit sharing, and the bankruptcy claim
allotted to flight attendants were not implemented until a consensual agreement was finally
reached and ratified.
68
   Debtors’ Motion Pursuant to Federal Rule of Bankruptcy Procedure 9019 for Approval of
Compromise and Agreements with the Association of Flight Attendants-CWA (“AFA”) at 8
¶ 24, In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. May 14, 2007); see also
Sharon L. Levine & S. Jason Teele, “Decisions under § 1113 in the Northwest Airlines
Bankruptcy Case May Have Lasting Consequences” available at
www.abiworld.org/committees/newsletters/pensionsbenefits/vol2num3/Decisions.html;
Bloomberg BNA Daily Labor Report, “AFA Members Ratify Agreement, Becoming Last Union
to Agree to Cost Cuts”, 104 DLR A-1 (May 31, 2007).
69
  Debtors’ Motion Pursuant to Federal Rule of Bankruptcy Procedure 9019 for Approval of
Compromise and for Relief under Section 1113(c) of the Bankruptcy Code and Approval of



                                                     -40-
12-11343-reg           Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                            Pg 44 of 108



liabilities of approximately $3.8 billion ($3 billion due between 2005 and 2007), Northwest froze

its Defined Benefit Pension Plans. 70 It effected savings in medical benefits, e.g., a 25% sharing

of cost by active employees, 50% for retired employees under 65, and eliminated retiree medical

benefits for retirees over 65. 71

                  5.      Continental Air Lines: Even More Concessions Years After Two
                          Bankruptcies

            69.   Continental filed bankruptcy twice, the first time in 1983 and the second in 1990.

     During its first bankruptcy, Continental rejected all of its labor contracts and dramatically

     reduced its labor costs. Many years later, Continental was the last of the six major legacy

     airlines to pursue labor concessions from its unions in the post-9/11 financial crisis. In March

     2003, Continental announced that it was seeking $500 million per year in labor cost reductions




Agreements with the IAM at 7 ¶ 17, In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y.
June 2, 2006).
70
  See, e.g., Debtors’ Motion Pursuant to Federal Rule of Bankruptcy Procedure 9019 for
Approval of Compromise and for Relief Under Section 1113(c) of the Bankruptcy Code and
Approval of Agreements with the Airline Pilots Association, International (“ALPA”) at 6 ¶ 13,
In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. May 31, 2006); Debtors’ Motion
Pursuant to Federal Rule of Bankruptcy Procedure 9019 for Approval of Compromise and for
Relief under Section 1113(c) of the Bankruptcy Code and Approval of Agreements with the
International Association of Machinists and Aerospace Workers, District 143 (“IAM”) Ex. 1 at 7
¶ 19, In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. June 2, 2006); Debtors’
Motion Pursuant to Federal Rule of Bankruptcy Procedure 9019 for Approval of Compromise
and for Relief under Section 1113(c) of the Bankruptcy Code and Approval of Agreements with
the International Association of Machinists and Aerospace Workers, District 143, Ex. 2 at 6 ¶ 18,
In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. June 2, 2006); Northwest’s
Application to Reject Collective Bargaining Agreements Pursuant to 11 U.S.C. § 1113(c) at 46,
In re Northwest Airlines Corp., No. 05-17930-alg (S.D.N.Y. Oct. 12, 2005).
71
  See, e.g., Debtors’ Motion Pursuant to Federal Rule of Bankruptcy Procedure 9019 for
Approval of Compromise and Agreements with the Association of Flight Attendants-CWA
(“AFA”) Ex. A at 29.3 § A(1)(c), 29.9 § B(2)(d), In re Northwest Airlines Corp., No. 05-17930-
alg (S.D.N.Y. May 14, 2007).



                                                   -41-
12-11343-reg        Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                            Pg 45 of 108



     to avoid a third bankruptcy, 72 $331 million from union-represented employees. 73 In March

     2005, ALPA-represented pilots agreed to contribute $213 million per year, 74 through an 8.9

     percent pay cut 75 and work rule changes to allow the carrier more flexibility in scheduling,

     such as a preferential bidding system. 76 The pilots’ defined benefit pension plan was frozen

     and replaced by a defined contribution plan. 77 Mechanics agreed to a 4 percent pay cut and

     caps on benefits. 78 Flight attendants represented by IAM voted down a tentative agreement in

     March, 2005, but reached a new agreement in December 2005 which provided for a four year

     pay freeze and saved Continental $72 million per year, largely through cuts in benefits and

     changes in work rules. 79 The IAM agreed that Continental would contribute to the IAM Multi-

     employer Plan in place of a frozen Continental DB Plan. 80




72
  Continental Airlines News Release, Continental Airlines Cuts Senior Management 25 Percent,
Cuts 1,200 Other Jobs, Targets $500 Million Additional Cost Savings” (March 19, 2003),
available at http://phx.corporate-ir.net/phoenix.zhtml?c=85779&p=irol-
newsArticle&ID=553417; Bloomberg BNA Daily Labor Report, “Continental Announces
Tentative Deals On Concessions With Four Unions,” 39 DLR A-7 (March 1, 2005).
73
  Bloomberg BNA Daily Labor Report, “Continental Announces Tentative Deals On
Concessions With Four Unions,” 39 DLR A-7 (March 1, 2005).
74
  Bloomberg BNA Daily Labor Report, “Pilots, Mechanics Ratify Concessions Pact With
Continental; Flight Attendants Vote ‘No,’” 62 DLR AA-1 (April 1, 2005).
75
     Pilots Bullet Point Summary of 2005 Contract § 3.
76
     Id. at § 25.
77
     Id. at § 28.
78
  Agreement Between Continental Airlines, Inc. and the Airline Technicians and Related
Employees in the Service of Continental Airlines, Inc. as Represented by the International
Brotherhood of Teamsters 2005-2008 at 24, 32 (Tentative Agreement Feb. 28, 2005).
79
 Bloomberg BNA Daily Labor Report, “Flight Attendants at Continental Airlines Ratify Four-
Year Contract Freezing Base Pay,” 22 DLR A-15 (Feb. 2, 2006).
80
  Tentative Agreement: Changes to Current Contract between the IAM and Continental Airlines
with Regards to the Continental Flight Attendants at 193-94 (Dec. 15, 2003).



                                                  -42-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 46 of 108



VI.   PINNACLE’S PILOT CONTRACT PROVIDES HIGHER COSTS, LOWER
      PRODUCTIVITY, AND MORE RESTRICTIONS ON THE COMPANY THAN
      ITS COMPETITORS

        70.    I have analyzed and compared the significant provisions of Pinnacle’s Section

 1113 proposal to the comparable provisions in the pilot labor contracts of the Comparator

 Group. As noted in Section IV, above, and illustrated in more detail below, Pinnacle is at a

 significant disadvantage versus its main competitors in terms of labor costs as driven by its pay

 scales and structure, certain work rules, and its benefit plans.

      A.       Pinnacle’s Pilot Compensation Is Above Market

        71.    Pilots are generally paid an hourly rate based on time employed by the airline.

 Regional airlines typically establish their pay scales based on either seat ranges (e.g., 60 to 76

 seat range) or specific type(s) of aircraft (e.g., CRJ-200) with separate scales for the two

 positions within the pilot craft: Captain and First Officer. Most often, hourly pay rate

 increases with pilot longevity.

      Current Pay Scales

        72.    The current pilot pay scales at Pinnacle are above market and, combined with

 very high average seniority, are a major reason for the Company’s labor cost disadvantage.

 Pinnacle’s pilot pay scales are above market compared to both DCI and Non-DCI Comparators

 by significant margins.

        73.    To analyze the pay rate differences, the Company developed a forecasted

 longevity distribution of pilots in 2013 based on a projected forecast of how many pilots would

 be at each longevity step of the various pay scales. The forecasted longevity distribution was

 then used to calculate the cost of pay and pay-related items (e.g., 401(k), federal and state

 taxes) of Pinnacle’s pilots in 2013. The same forecasted longevity distribution was then

 applied to the pay rates of the other Delta Connection carriers. The difference between the


                                                -43-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                        Pg 47 of 108



 forecasted weighted average Pinnacle pay rate in 2013 and the weighted average pilot pay rate

 at the other Delta Connection carriers was 6 percent. See Ex. 17, Mark-to Market Calculations.

 Moreover, under the terms of the current JCBA, Pinnacle pilots are scheduled to receive a 3

 percent increase on December 1, 2012, with additional increases of 2.0 percent in each

 subsequent year through 2015.

               CRJ-900 Captains

        74.    Pinnacle’s hourly rate for a first year CRJ-900 Captain ($67.29) is higher than the

 first year rates at all of its competitors, both DCI and Non-DCI Comparators, and is 5.3 percent

 higher than the DCI average ($63.92). At every step of the CRJ-900 scale, Pinnacle pilot pay

 rates are higher than the DCI average. The top of scale pilot pay rate for Pinnacle CRJ-900

 Captains ($108.89) is higher than all but two of its DCI competitors and is 0.5 percent higher

 than the DCI average ($108.39). See Ex. 18, CRJ-900 Pay Scale vs. DCI Carriers; Ex. 19,

 CRJ-900 Pay Scale vs. All Comparators.

               CRJ-900 First Officers

        75.    The hourly rate discrepancy between First Officer rates at Pinnacle and its

 Comparators is even greater than the pay rate difference for Captains on the CRJ-900s.

 Pinnacle’s wage rate for a first year CRJ-900 First Officer ($26.70) is higher than all of its

 competitors, both DCI and Non-DCI Comparators, and is 13.7 percent higher than the DCI

 average ($23.48). Pinnacle First Officers reach the top of the pay scale at 8 years and earn

 $46.71. This is 7.9 percent higher than the DCI average pay with 8 years seniority ($43.28).

 See Ex. 18, CRJ-900 Pay Scale vs. DCI Carriers; Ex. 19, CRJ-900 Pay Scale vs. All

 Comparators.




                                               -44-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                        Pg 48 of 108



               CRJ-200 Captains

        76.    Pinnacle’s current wage rate for first year CRJ-200 Captains ($62.82) is higher

 than that of all of its DCI competitors and higher than that of all but one of its Non-DCI

 Comparators. See Ex. 20, CRJ-200 Pay Scale vs. DCI Carriers and Ex. 21, CRJ-200 Pay Scale

 vs. All Comparators. The first year rate is 9.1 percent higher than the DCI average ($57.63).

 The CRJ-200 Captain rates at Pinnacle are higher then the DCI average rates at every step of

 the pay scale. CRJ-200 Captains reach the top of scale at 18 years. Pinnacle’s CRJ-200 top of

 scale rate ($103.91) is higher than all of its DCI Comparators and 4.6 percent higher than the

 DCI average ($99.37). Despite being capped at 18 years, Pinnacle’s wage rate for 20-year

 Captains ($103.91) is still higher than all of its DCI Comparators with the exception of

 SkyWest              and 2.3 percent higher than the DCI average ($101.53).

               CRJ-200 First Officers

        77.    CRJ-200 First Officers pay rates are significantly higher than First Officers on the

 same or comparable equipment at the other DCI Carriers. First Officers on the first year of the

 pay scale receive a higher pay rate ($26.70) than their peers at each of Pinnacle’s DCI and

 Non-DCI competitors. The first year rate is 17.1 percent higher than the DCI average

 ($22.80). Pinnacle First Officers reach the top of the pay scale at 8 years and earn $44.36 or

 5.4 percent more than the DCI average ($42.09). See Ex. 20, CRJ-200 Pay Scale vs. DCI

 Carriers; Ex. 21, CRJ-200 Pay Scale vs. All Comparators.

      Section 1113 Proposed Pay Rates

        78.    In order to lower its labor costs and become competitive with other DCI Carriers,

 Pinnacle’s 1113 proposal includes a reduction in pilot wage rates as part of the overall savings

 necessary to permit a successful reorganization of the Company. In addition to the proposed




                                               -45-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13               Main Document
                                         Pg 49 of 108



 pay scale modifications summarized below and detailed in the Company’s 1113 proposal to

 ALPA, Pinnacle proposes to modify the scheduled increases to its pilot pay scales by replacing

 the current general wage increases with increases of 1.5 percent per year in 2014 and 2016, and

 1.0 percent in 2015, 2017, and 2018. See Exhibit 51, Pinnacle 1113 Pilot Term Sheet.

         79.   The proposed rates would place Pinnacle’s hourly wages near the bottom of

 industry pay rates, but in line with the lower pay scales at DCI Carriers like GoJet and

 Compass Airlines. See Ex. 22, CRJ-900 Proposed vs. DCI; Ex. 23, CRJ-200 Proposed vs.

 DCI. Because Pinnacle is disadvantaged by its relatively high seniority, it must achieve

 significant labor savings such that it can emerge at or toward the bottom of the industry in

 terms of pay scale. The seniority cost disadvantage that Pinnacle faces with a senior pilot

 workforce is addressed in paragraphs 80 – 87. As a result of the new longevity cap, the most

 senior Captains and First Officers will receive the largest pay cuts. The Company’s section

 1113 proposal will reduce pilot pay rates between 7 and 25 percent, with a weighted average

 wage reduction of 15 percent. See Ex. 19, CRJ-900 Pay Scale vs. All Comparators; Ex. 24,

 CRJ-900 Proposed vs. ALL Carriers; Ex. 21, CJR-200 Pay Scale vs. All Comparators; Ex. 25,

 CRJ-200 Proposed vs. ALL Carriers; Ex. 17, Mark-to Market Calculations; Ex. 65, Pilot Pay

 Comparison.

       Pinnacle’s Seniority Cost Disadvantage

         80.   Comparing Pinnacle’s current pilot pay rates to those at its competitors is an

 important analysis, but it is only the first step. It is also crucial to analyze the interaction

 between pilot pay rates and the seniority of the pilot work force.

         81. While pilot seniority lists are not publicly available, a review of how long an

 airline has been in business provides a good indication of the relative seniority of each pilot




                                                 -46-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                             Pg 50 of 108



     workforce. Two of the six Delta Connection carriers against which Pinnacle currently

     competes for business are relative newcomers in the industry. Compass was founded in 2007

     and GoJet was founded in 2004 and began operations in 2005. Accordingly, the highest

     seniority currently possible at each of those airlines is 5 years of service and 7 years of service,

     respectively. Pinnacle, in contrast, is a much older airline. Pinnacle itself began operations in

     1985, and Mesaba traces its roots back to 1944, with more active service beginning in the

     1970s. Not surprisingly, many of the pilots at Pinnacle have been with the Company for more

     than 20 years. Using the forecasted seniority in 2013, 81 approximately 30 percent of the CRJ-

     900 Captains will have 20 or more years of seniority and nearly 76 percent of the CRJ-900

     Captains will be at, or above, their 15th year of service in 2013. Because Pinnacle is subject to

     such high relative seniority, its actual wage-related cost disadvantage for its pilots is greater

     than it might first appear if one only considered the difference in pay scales. With its very

     senior work force, Pinnacle is currently at a significant cost disadvantage to a number of its

     DCI Comparators. The Company has made two proposals in its 1113 term sheet to address this

     seniority cost disadvantage.

          1113 Proposals to Address Pinnacle’s Seniority Cost Disadvantage

            82.    As mentioned in paragraph 34 of this declaration, the Company has proposed to

     reduce the longevity of the top of scale. The proposed top of scale for Captains is at 12 years

     of service and the proposed top of scale for First Officers is at 4 years of service. 82 While most


81
     See Ex. 17.
82
  Pilot Pay scales in the airline industry are generally structured to reflect a higher wage with
year of service (number of years a pilot has been employed by the airline). An important
distinction to note is that Pinnacle’s proposed Captain pay scales provide rates at various steps,
not years of service. A step does not represent a pilot’s years of service, but rather represents a
12 month period of flying in that status (equipment and position). For example, a Captain in his



                                                    -47-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13               Main Document
                                             Pg 51 of 108



     of the other regional airlines cap their Captain pay scales between the fourteenth and twentieth

     year of service, Pinnacle must realign its pay scales to achieve the necessary savings from its

     pilots. In the case of First Officer scales, Pinnacle’s proposed four year scale is not outside of

     the industry norm. For example, DCI Carriers GoJet and Republic cap their First Officer pay

     scales at 4 years. See Ex. 22, CRJ-900 Proposed vs. DCI; Ex. 23, CRJ-200 Proposed vs. DCI.

     Pinnacle has also proposed to reduce the impact of a senior pilot work force by changing the

     structure of its pay progression. It is typical in the regional airline industry for a pilot to retain

     his or her seniority when moving from one position to another (First Officer to Captain or vice

     versa). However, Pinnacle has proposed an alternative structure under which any First Officer

     promoted to Captain will be placed on the first step of the applicable Captain pay scale. A

     pilot who reverts from Captain to First Officer, however, would utilize his original longevity

     date for placement on the First Officer scale. That is, the retention of longevity applies when a

     Captain is displaced to a First Officer position. If a Captain who reverts to First Officer is later

     promoted back to Captain, that pilot would be placed at the first step on the Captain scale,

     where the pilot would remain for 12 months.

             83.   While none of the Comparator Group carriers have similar pay progression

     systems, ALPA is familiar with the Company’s proposed concept. In 2001, ALPA and Ryan

     International Airlines reached an agreement in which pilots were paid based on status and

     longevity flying for a particular customer.83 The agreement provided various pay scales based

     on equipment type (B727, B737, DC10, A320, and B757), position (CA, FO, SO, PFE) and

2nd step on the Captain pay scale has held that status over 12 months but less than 24 months.
The fact that he is paid the 2nd step rate is not necessarily indicative of his years of service with
the Company.
83
 See § 3.A.2 of the Collective Bargaining Agreement between Ryan International Airlines and
ALPA (2001), attached hereto as Ex. 57.



                                                     -48-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                             Pg 52 of 108



     customer (Sport Hawk, Aer Lingus, USPS, etc). Any change in equipment, position, or

     customer would result in the pilot being placed at the bottom of the new applicable pay scale.

     This system is similar to Pinnacle’s proposal in that a move from an First Officer scale to a

     Captain scale will result in the pilot being placed at the first step of the Captain scale. In

     Pinnacle’s proposal, however, the reverse move from Captain to First Officer will not result in

     the pilot the being placed at the first step on the First Officer scale. Under the Company’s

     section 1113 proposal, a pilot will always be paid on the First Officer scale based on a pilot’s

     seniority with the Company. See Ex. 51, Pinnacle 1113 Pilot Term Sheet.

            84.   Pinnacle’s proposed pay progression structure is not the only pay structure to

     diverge from the traditional longevity-based structure found at most regional airlines. In its

     latest agreement with its pilots, Horizon Air implemented a different pay structure for its First

     Officers. 84 Under that plan, First Officers are placed on one of two scales – a higher pay scale

     and a lower pay scale. The most senior First Officers are placed on the higher scale and the

     remaining First Officers are placed on the lower scale regardless of the equipment being flown.

     The allocation of First Officers to each scale is based on the number/type of equipment being

     flown by the Company at a given time.

            85.   Most recently, ALPA entered into an agreement with American Eagle to modify

     its pay structure as part of that Company’s restructuring. The Agreement in Principle (AIP) 85

     provides for the implementation of a four year inclusion of the E175 and CRJ-900 in the




84
  § 5.A of the Collective Bargaining Agreement between Horizon Air Industries, Inc. and the
International Brotherhood of Teamsters (2010), attached hereto as Ex. 58.
85
   AIP between American Eagle and ALPA information from document developed by ALPA
titled, “1113 Term Sheet vs. Agreement in Principal (AIP).”



                                                    -49-
12-11343-reg          Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                             Pg 53 of 108



     Turbojet 60-76 seat scale provided that the aircraft are configured at 79 seats or less.86 This

     provision will allow American Eagle to fly these larger aircrafts without paying pilots a higher

     rate.

              86.   Due to Pinnacle’s above market pay rates and very high average seniority, the

     proposed pay rates and new pay system are required for the Company to achieve it labor costs

     savings.

             B.     Pinnacle’s Pilot Work Rules Are Among The Most Costly And Least
                    Productive In The Industry

              87.   Pinnacle’s competitive disadvantage is owed in large part to its pilot work rules,

     which are among the most costly and least productive in the industry. Work rules substantially

     impact pilot productivity and cost because they determine, among other things, the number of

     days of work, time off, and how and when pilots may be scheduled to work, which, in turn,

     determines the number of pilots needed to staff a particular flight schedule. Airlines generally

     seek work rules that maximize a pilot’s time in the cockpit piloting the aircraft (known as

     “block hours” or “hard time”), while minimizing the time a pilot is paid while the pilot is not in

     the cockpit (called “credit time” or “soft time”). By modifying its work rules, Pinnacle can

     reduce costs and increase productivity.

              88.   Below is a description of the significant pilot work rule modifications that

     Pinnacle has proposed and how these modifications achieve critical improvements to

     Pinnacle’s competitive position. The relevant rules relate to three broad categories: (1) pilot

     scheduling; (2) pilot training; and (3) other miscellaneous work rules.



86
  The E175 is certificated by the FAA to operate with up to 88 passenger seats; the CRJ-900 is
certificated by the FAA to operate with up to 90 passenger seats.



                                                    -50-
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                         Pg 54 of 108



               1.      Pilot Scheduling and Compensation-Related Work Rules

        89.    Several of the work rules described below relate to certain basic pilot scheduling

 and compensation concepts, which are introduced briefly here for background purposes.

        90.    There are two classes of pilots: Lineholders and Reserve pilots. A Lineholder’s

 work schedule for a given month is known as a “Line” and consists of a series of “Trips.” A

 “Trip” is a sequence of flights beginning and ending at the pilot’s home airport (known as the

 pilot’s “Domicile”). Depending on the number and length of the assigned flights, a Trip may

 be concluded within a single day or may involve overnight stays away from the pilot’s

 Domicile and last up to four days before the pilot returns to his or her Domicile. A Line is

 composed of several Trips of varying lengths scheduled throughout the month, interspersed

 with designated “off” days between Trips.

        91.    Lineholders bid for Lines each month using Pinnacle’s Preferential Bidding

 System (“PBS”), which collects pilots’ preferences for various Line characteristics (e.g.,

 desired days off, timing and location of Trips) and attempts to accommodate those preferences

 based on Pinnacle’s needs for the month, with priority given to more senior pilots. The

 overarching goal of PBS is to maximize pilot productivity and satisfaction.

        92.    Reserve pilots do not receive Lines with pre-determined Trips, but rather are

 simply assigned on- and off-days for a given month. Reserve pilots report for duty on their on-

 days and may be assigned to any flight or series of flights for which they are qualified,

 returning to their Domicile in time for their next scheduled off-day. Reserve pilots increase an

 airline’s scheduling flexibility in the face of last-minute required changes.

        93.    Lineholders and Reserve pilots are compensated on an hourly basis according to

 the number of “Credit Hours” they earn in a given month. Examples of credit time include

 vacation, sick leave, training, and rigs (see below at paragraph 94). Credit Hours are always at


                                               -51-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                             Pg 55 of 108



     least equal to a pilot’s actual block hours (i.e., time spent piloting aircraft), but often exceed

     block hours based on various potential increases provided for by the governing CBA.

                           (a)     Minimum Day Credit

             94.   Rigs (Ratios to Guarantee) are complex provisions in some pilot and flight

     attendant contracts that provide minimum pay and credit towards the various flight and duty

     limitations, vacation, sick and other accruals (collectively called “pay and credit” in the

     industry) according to various formulas. One such type of rig is the Minimum Day Credit

     (sometime referred to as “Minimum Duty Period Credit” or “MDPC)”. The Minimum Day

     Credit provides that a pilot will receive the greater of the pay and credit for the scheduled time

     of the trip, the time actually flown during the trip, or the Minimum Day Credit value for each

     day of the trip pairing.

             95.   Current Pinnacle Terms: Pinnacle’s CBA provides for a Minimum Day Credit

     of 4 hours whenever a pilot is assigned to duty or required to remain away from the pilot’s

     Domicile (Ex. 54 §3.H).

             96.   Comparator Group: Pinnacle’s Minimum Day Credit of 4 hours is more

     generous than those of any of the airlines in its primary Comparator Group. 87 Only two DCI


87
  Minimum Day Credit Sources (DCI Carriers): CBA between Atlantic Southeast Airlines, Inc.
and ALPA (“ExpressJet-CRJ ALPA CBA”), attached hereto as Exhibit 66, at §3.F, as amended
by Letter of Agreement between Atlantic Southeast Airlines, Inc. and ALPA (“ExpressJet-CRJ
ALPA LOA”), attached hereto as Exhibit 67; CBA between Comair, Inc. and ALPA (2007)
(“Comair ALPA CBA”), attached hereto as Exhibit 68, at §3.C.4; CBA between Compass
Airlines and ALPA (2007) (“Compass ALPA CBA”), attached hereto as Exhibit 69, at §4.B;
CBA between GoJet Airlines, LLC and International Brotherhood of Teamsters (2007) (“GoJet
IBT CBA”), attached hereto as Exhibit 70, at §5.J; CBA between Chautauqua Airlines Inc. and
Teamsters Airline Division Local 747 (2003) (“Republic Teamsters CBA”), attached hereto as
Exhibit 71, contains no provision;




                                                    -52-
12-11343-reg           Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                            Pg 56 of 108



     Carriers, GoJet and Comair, provide Minimum Day Credit values at or above Pinnacle’s 4 hour

     credit, and those carriers limit the extent of the rule’s application. GoJet’s Minimum Day

     Credit is only applicable to situations where a pilot is on layover away from base without a

     duty assignment and Comair’s Minimum Day Credit is calculated on a bid period basis.

     Calculating credit on a bid period (or monthly) basis is significantly less costly than calculating

     it on a daily or per-trip basis because over the course of an entire bid period, trips and duty

     periods that exceed the guaranteed value are balanced out with trips and duty periods that fall

     below the guaranteed value. Calculating credit daily or on a per-trip basis does not allow for

     this balancing.

            97.   Pinnacle’s 4 hour credit exceeds that of all Non-DCI Comparators. 88 Trans

     State’s 4 hours is similar to GoJet, above, in that it is only applicable on layovers without a

     duty assignment, and ExpressJet-ERJ’s 3 hour credit is only applicable to layovers.

            98.   Pinnacle’s Section 1113 Proposal: Pinnacle proposes to eliminate Minimum

     Day Credit. Under this proposal, pilots will receive Credit Hours for all hours that they work

     each day. This puts Pinnacle in line with Republic among DCI Carriers, and in line with Mesa

     among Non-DCI Comparators.




88
  Minimum Day Credit Sources (Non-DCI Comparators): CBA between Air Wisconsin
Airlines Corporation and ALPA (2001) (“Air Wisconsin ALPA CBA”), attached hereto as
Exhibit 72, at §3.C; CBA between American Eagle Airlines, Inc. and ALPA (2009) (“American
Eagle ALPA CBA”), attached hereto at Exhibit 73, at §3.D; CBA between ExpressJet Airlines,
Inc. and ALPA (2004) (“ExpressJet-ERJ ALPA CBA”), attached hereto as Exhibit 74, at §3.D;
CBA between Mesa Airlines, Inc. and ALPA (2008) (“Mesa ALPA CBA”), attached hereto as
Exhibit 75, at §13.G; CBA between Trans States Airlines and ALPA (2011) (“Trans States
ALPA CBA”), attached hereto as Exhibit 76, at §3.I.




                                                   -53-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                             Pg 57 of 108



                           (b)    Vacation Accrual

             99.   Current Pinnacle Terms: Pinnacle new-hire pilots accrue 7 vacation days per

     year (Ex. 54 §7.A). The maximum vacation accrual, for pilots with 14 or more years of

     service, is 28 days (Id.).

             100. Comparator Group: In terms of maximum vacation accrual, Pinnacle is near the

     top of the industry when compared to the DCI Carriers, 89 matching ExpressJet-CRJ and GoJet

     and trailing only Comair. While Republic provides 35 days per year, its pilots accrue Paid

     Days Off (“PDOs”), which are to be used for all unscheduled absences including vacation, sick

     leave, and personal time. Compared to Non-DCI Comparators, 90 Pinnacle is in line with

     ExpressJet-ERJ, Mesa, and Trans States.

             101. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to decrease the vacation

     accrual for pilots by 7 days at each level of accrual, except for those pilots who currently

     receive 7 days per year, whose vacation accrual would remain the same. Under this proposal,

     pilots would receive between 1 and 3 vacation weeks per year. This places Pinnacle at the

     bottom end of both Comparator Groups.

                           (c)    Vacation Credit

             102. Current Pinnacle Terms: Pinnacle pilots are compensated 21 Credit Hours for

     each vacation week (Ex. 54 §7.B.1). However, for purposes of calculating a pilot’s total

     monthly credit hours and ensuring compliance with the monthly maximum hour limits, the

89
   Vacation Accrual Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §7 as
amended by Ex. 67, ExpressJet-CRJ ALPA LOA; Ex. 68, Comair ALPA CBA, at §7; Ex. 69,
Compass ALPA CBA, at §7; Ex. 70, GoJet IBT CBA, at §13; Ex. 71, Republic Teamsters CBA,
at §8.A;
90
  Vacation Accrual Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§7; Ex. 73, American Eagle ALPA CBA, at §8.A; Ex. 74, ExpressJet-ERJ ALPA CBA, at §8.A;
Ex. 75, Mesa ALPA CBA, at §7.A; Ex. 76, Trans States ALPA CBA, at §8.A.



                                                   -54-
12-11343-reg        Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                            Pg 58 of 108



     PBS system credits pilots with 24.5 hours for each vacation week (Id.). Based on a 94 hour

     scheduled monthly maximum, under the current system, a pilot who takes a one-week vacation

     has only 69.5 remaining hours of potential work time (i.e., 94 minus 24.5), versus the 73

     potential credit hours that would be available if the PBS system credited the pilot for 21 hours.

     This additional 3.5 hours of credit time (the “Virtual Vacation Credit”) restricts the number of

     hours a pilot may be assigned to fly, thereby reducing pilot productivity and increasing costs.

            103. Comparator Group: Among DCI Carriers, 91 Pinnacle’s 24.5 hours of Virtual

     Vacation Credit per week is greater – and thus less favorable to the Company, for the reasons

     stated above – than Comair, GoJet, Republic,            , and Compass (which does not have

     virtual credits but which credit pilots with 3 hours per vacation day, or 21 hours per vacation

     week). Ex. 26, Pilot Vacation Credit – Pinnacle vs. DCI Carriers (reproduced below). For

     Non-DCI Comparators, 92 Mesa is the only carrier with Virtual Vacation Credits and its 21

     hours per week allows its pilots to be available for more hours of flying per month than

     Pinnacle. Among the other Non-DCI Carriers, only ExpressJet-ERJ credits pilots with more

     than Pinnacle’s 24.5 hours per week. Ex. 27, Pilot Vacation Credit – Pinnacle vs. Non-DCI

     Comparators (reproduced below).




91
  Vacation Credit Sources (DCI Carriers): Ex. 67, ExpressJet-CRJ ALPA LOA, at
§13.C.3.b(2)(e); Ex. 68, Comair ALPA CBA, at §24.E; Ex. 69, Compass ALPA CBA at §3.I; Ex.
70, GoJet IBT CBA, at §13.B; Ex. 71, Republic Teamsters CBA, at §6.F.1.b(xvii);

92
   Vacation Credit Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§3.S, §7.C; Ex. 73, American Eagle ALPA CBA, at §8.B; Ex. 74, ExpressJet-ERJ ALPA CBA,
at §8.B; Ex. 75, Mesa ALPA CBA, at §21.B.9.c; Ex. 76, Trans States ALPA CBA, at §8.B.



                                                  -55-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 59 of 108
12-11343-reg         Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                            Pg 60 of 108



            104. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to eliminate the Virtual

     Vacation Credit and to credit pilots with 21 hours for each vacation week – the actual amount

     of time paid – when constructing Line assignments and measuring total block hours against the

     94 hour maximum. This puts Pinnacle well within market for DCI as well as Non-DCI

     Comparators.

                          (d)     Long Call Reserve

            105. Current Pinnacle Terms: Pinnacle currently employs two types of Reserve

     pilots: Short Call Reserves and Long Call Reserves (Ex. 54 §§2.NN, 25.E.2.k). Short Call

     Reserves must be available to fly without notice on a given assignment day. Long Call

     Reserves must check their schedules at some point between 10:00 a.m. and 1:00 p.m. on the

     day before their potential assignment. If there is no assignment for them at the time they call

     in, they are released from duty the next day and paid the Minimum Day Credit. Under the

     current pilot contract, if a Long Call Reserve pilot has not been assigned to a Trip at the time

     the pilot calls in, which tends to be at the beginning of this window, the pilot is released from

     duty for the following day. Due to weather delays, pilot absences, and other unpredictable

     circumstances, Pinnacle is unable to determine the number of pilots it will need for the

     following day before the call-in window. Thus, the current rule results in the premature release

     of Long Call Reserve pilots may, in fact, be needed for duty the next day. Currently, Pinnacle

     is required to designate at least 15 percent of its Reserve assignments as “Long Call Reserve.”

            106. Comparator Group: Among DCI Carriers, 93 only ExpressJet-CRJ and

     employ Long Call Reserves and they each require 20 percent of Reserve lines to be Long Call.

93
  Long Call Reserve provisions (DCI Carriers): Ex. 67, ExpressJet-CRJ ALPA LOA 11,
§13.C.3.f; Comair has no Long Call Reserves; Compass has no Long Call Reserves; GoJet has
no Long Call Reserves; Republic has no Long Call Reserves;



                                                   -57-
12-11343-reg         Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                            Pg 61 of 108



     Comair, Compass, GoJet, and Republic do not utilize Long Call Reserves at all. The only

     Non-DCI comparator that utilizes Long Call Reserves is ExpressJet-ERJ and their pilot CBA

     only requires that 10 percent of Reserve lines will be Long Call lines. 94

            107. Pinnacle’s Section 1113 Proposal: Pinnacle proposes eliminating the Long Call

     Reserve system and filling vacancies using Short Call Reserves only, putting them in line with

     most of the Comparators.

                          (e)     Long Call Available

            108. Current Pinnacle Terms: In lieu of assigning a Lineholder to a specific Trip,

     Pinnacle may assign Lineholders to a status of “Long Call Available” (“LCA”) which requires

     the pilot to check in for a potential assignment at any point between 10:00 am and 1:00 pm

     Central Time on the day preceding the LCA scheduled work day (Ex. 54 §25.H.6.b). This

     system results in the same problematic lack of flexibility discussed above for Long Call

     Reserve assignments (see Section VIVII.B.2 above).

            109. Comparator Group: The majority of Pinnacle’s Comparators do not employ

     Long Call status. Of the DCI Carriers 95 that use Long Call status, ExpressJet-CRJ and

                pilot contracts are silent on the matter of when pilots check in for assignments, and

     Comair’s check-in window is between 2:00 pm and 4:00 pm on the day prior to an assignment.




94
  Long Call Reserve Sources (Non-DCI Comparators): Air Wisconsin has no Long Call
Reserves; American Eagle has no Long Call Reserves; Ex. 74, ExpressJet-ERJ ALPA CBA, at
§21.D.3; Mesa has no Long Call Reserves; Trans States has no Long Call Reserves.
95
  Long Call Available Sources (DCI Carriers): ExpressJet-CRJ has no provision for check-in;
Ex. 68, Comair ALPA CBA, at §12.G.1.d-e; Compass has no LCA; GoJet has no LCA; Republic
has no LCA;



                                                   -58-
12-11343-reg          Doc 658    Filed 09/21/12 Entered 09/21/12 17:38:13          Main Document
                                            Pg 62 of 108



     Two of the five Non-DCI Comparators 96 do not employ Long Call status while two others are

     silent on the timing of check-in for assignment.

               110. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to change the Long Call

     Available call-in window to 6:00 pm to 8:00 pm Central Time. This change would allow

     Pinnacle to more accurately fill unexpected vacancies and reduce the need to junior assign

     pilots.

                           (f)    Open Time Posting

               111. Current Pinnacle Terms: “Open Time” is flying that either was not assigned

     during the bid process or flying which has become available during the month. Under

     Pinnacle’s current JCBA, the Company is required to post all Open Time “as soon as

     practicable” and make Open Time available for pickup by any pilot based on seniority (Ex. 54

     §25.G.2). Although Open Time can theoretically be claimed by both Lineholders and

     Reserves, in practice, Open Time is typically picked up by Lineholders who want to increase

     their pay hours in a month and who have a seniority advantage over Reserves. However, it is

     more efficient and economical for Reserve pilots to pick up Open Time – or for the Company

     to assign such time to Reserves – because Reserves are generally underutilized compared to

     Lineholders and more likely to fall below the Minimum Monthly Guarantee of 75 credit hours.

     However, under the current system, requiring all Open Time to be published often results in

     such time being picked up by Lineholders who already exceed the Minimum Monthly

     Guarantee, at added cost to Pinnacle, as opposed to Reserves who are often paid for a



96
  Long Call Available Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§25.E.11; American Eagle has no LCA; ExpressJet-ERJ has no provision for check-in; Mesa has
no provision for check-in; Trans States has no LCA.



                                                  -59-
12-11343-reg         Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13               Main Document
                                             Pg 63 of 108



     minimum number of hours they are not actually achieving and could often cover the Open

     Time at no added cost to Pinnacle.

             112. Comparator Group: Among the DCI Carriers, 97 Compass is permitted to

     withhold certain unassigned flying from Open Time and Republic may assign open flying to

     in-domicile Reserves at any time. Among Non-DCI Comparators, 98 Air Wisconsin and

     American Eagle may withhold some unassigned flying from Open Time and Mesa’s contract

     provides that the Company “may” post uncovered flying.

             113. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to have the discretion to

     withhold Open Time, including, but not limited to, for the purpose of assignment to Reserve

     pilots. Pinnacle’s ability to withhold certain trips from Open Time will allow it to make more

     effective use of its pilots and will align itself with Compass and Republic, among DCI Carriers,

     and three of the five Non-DCI Comparators.

                           (g)     Post-Line Award Open Time Requirements

             114. Current Pinnacle Terms: At the close of the line construction process, Pinnacle

     must leave at least 2 percent of the available time in each Domicile unassigned (Ex.

     §25.E.2.a.ii), if doing so is preferable to the pilots in that Domicile (i.e., if they would prefer to

     decrease their desired flying time as opposed to meeting their desired amount through inclusion

     of flying not matching their Trip preferences). This requirement results in Pinnacle’s leaving

     close to 2 percent of available time unassigned. Somewhat similar to the Open Time Posting


97
  Open Time Posting Sources (DCI Carriers): Ex. 67, ExpressJet-CRJ ALPA LOA, at §13.I.1;
Comair has no provision; Ex. 69, Compass ALPA CBA, at §25.N; Ex. 70, GoJet IBT CBA, at
§6.F.1; Ex. 71, Republic Teamsters CBA, at §6.H.1;
98
   Open Time Posting Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§25.H.2; Ex. 73, American Eagle ALPA CBA, at §11.F.4; Ex. 74, ExpressJet-ERJ ALPA CBA,
at §21.H.1; Ex. 75, Mesa ALPA CBA, at §3.H.3; Ex. 76, Trans States ALPA CBA, at §25.G.1.



                                                     -60-
12-11343-reg        Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                            Pg 64 of 108



     discussion, above, this work rule decreases overall efficiency because it adds to the time that

     Pinnacle must assign through means other than the bidding process, such as through Open

     Time or junior assignment, which is more costly and less efficient for the Company.

             115. Comparator Group: Among DCI Carriers, 99 only Comair is required to

     withhold more than the 2 percent required by the Pinnacle JCBA. However, the time withheld

     at Comair is only in order for pilots to accomplish initial operating experience (“OE”) and

     while the amount withheld at Comair can be up to 4 percent, it is also limited to the amount

     required to construct required OE lines, which could effectively limit the amount withheld to

     less than Pinnacle’s 2 percent. The pilot contracts at Compass and Republic only provide that

     the carriers may withhold time from lines, while GoJet’s pilot contract only limits withheld

     time to 5 percent of all scheduled block hours, with no stated requirement to withhold such

     time.                                                  At ExpressJet-CRJ, while the contract

     states that the Company may withhold up to 2%, it also provides that the union can withhold

     up to 2 percent.

             116. None of the Non-DCI Comparators are required to withhold time, though the

     majority of them may withhold varying amounts of flying. 100




99
  Post-Award Open Time Sources (DCI Carriers): Ex. 67, ExpressJet-CRJ ALPA LOA, at
§11.C.2; Ex. 68, Comair ALPA LOA, at §24.B; Ex. 69, Compass ALPA CBA, at §25.I; Ex. 70,
GoJet IBT CBA, at §8.C.1.a; Ex. 71, Republic Teamsters CBA, at §6.E.1;

100
  Post-Award Open Time Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA
CBA, at §25.H.2; Ex. 73, American Eagle ALPA CBA, at §11.B.4; Ex. 74, ExpressJet-ERJ
ALPA CBA, at §21.D.1.h; Ex. 75, Mesa ALPA CBA, at §13.I.1; Ex. 76, Trans States ALPA
CBA, at §25.B.3.a.



                                                  -61-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                         Pg 65 of 108



         117. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to reduce the maximum

  required post-award open time to 1 percent, which places Pinnacle well within both

  Comparator Groups and is still more restrictive than the majority of the Comparators.

                        (h)   Voluntary Open Time Pay

         118. Current Pinnacle Terms: Under its current pilot contract, Pinnacle must

  compensate a pilot who voluntarily picks up an Open Time Trip at 150 percent of base pay

  (Ex. 54 §3.M.2).

         119. Comparator Group: The majority of Pinnacle’s competitors compensate pilots

  who voluntarily pick up Open Time trips at 100 percent of base pay, while only paying a

  premium for certain “Red Flag” or “Critical Coverage” trips which are chosen by the airline,

  trips that remain uncovered a certain number of hours prior to report time, or trips picked up on

  a pilot’s day off. Among DCI Carriers, only Comair pays pilots at 150 percent for voluntarily

  picking up trips on a duty day. See Ex 28, Pilot Open Time Pay – Pinnacle vs. DCI Carriers 101

  (reproduced below) and Ex. 29, Pilot Open Time Pay – Pinnacle vs. Non-DCI Comparators102

  (reproduced below).




101
   Voluntary Open Time Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at
§13.M.8; Ex. 68, Comair ALPA CBA, at §3.K; Ex. 69, Compass ALPA CBA, at §3.G; Ex. 70,
GoJet IBT CBA, at §5.F; Ex. 71, Republic Teamsters CBA, at §3.C.1;

102
    Voluntary Open Time Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA,
at §3.B; Ex. 73, American Eagle ALPA CBA, at §3.H; Ex. 74, ExpressJet-ERJ ALPA CBA, at
§3.E.8; Ex. 75, Mesa ALPA CBA, at §13.E.10-11; Ex. 76, Trans States ALPA CBA, at §3.E.2.



                                               -62-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 66 of 108
12-11343-reg      Doc 658        Filed 09/21/12 Entered 09/21/12 17:38:13         Main Document
                                            Pg 67 of 108



                           (i)   Reserve Days Off Per Month

          121. Current Pinnacle Terms: Currently, Pinnacle’s Reserve pilots receive a

  minimum of 11 days off duty per month (Ex. 54 §12.E).

          122. Comparator Group: Among DCI Carriers, 103 GoJet provides Reserves with

  10 guaranteed days off per month in all months,

                                            . The Non-DCI Comparators generally provide

  between 11 and 12 days off per month for Reserves. 104

          123. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to reduce Reserve

  guaranteed minimum days off to 10 days, which would keep Pinnacle in line with GoJet and

  partially in line with

                           (j)   Single Duty Day

          124. Current Pinnacle Terms: As a general matter, Pinnacle prefers to avoid

  assigning its pilots to a “Single Duty Day,” i.e., a day of work surrounded by at least one day

  off on either side of work. The default rule under PBS is that pilots will not be assigned to a

  Single Duty Day, but pilots may “waive” this requirement by affirmatively selecting a Single

  Duty Day as a preference when bidding a Line (Ex. 54 §25.E.2.d). When a pilot selects a

  Single Duty Day, Pinnacle is often unable to actually assign the pilot to a Trip on the Single

  Duty Day because of limited numbers of Trips that conclude within a single day. For

  Reserves, this can be particularly problematic. For example, a Reserve pilot may waive the

103
   Reserve Days Off Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §12.D.2;
Ex. 68, Comair ALPA CBA, at §12.B; Ex. 69, Compass ALPA CBA, at §12.E; Ex. 70, GoJet
IBT CBA, at §7.A.2; Ex. 71, Republic Teamsters CBA, at §23.D;

104
   Reserve Days Off Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§12.F; Ex. 73, American Eagle ALPA CBA, at §10.B; Ex. 74, ExpressJet-ERJ ALPA CBA, at
§21.D.3; Ex. 75, Mesa ALPA CBA, at §12.B; Ex. 76, Trans States ALPA CBA, at §12.C.3.



                                                -64-
12-11343-reg        Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                           Pg 68 of 108



  prohibition on Single Duty Days and be given a single day assignment for the evening time

  slot. Because almost any flight that would become available during that duty period would

  continue into the next day (i.e. the Reserve pilot’s day off), Pinnacle is unable to utilize that

  Reserve pilot at all, creating a staffing issue for the Company.

            125. Comparator Group: Only Compass, among all of Pinnacle’s Comparators. 105
  106
        provides the option for pilots to waive the Single Duty Day prohibition. The pilot contracts

  of the remaining Comparators are silent on the Single Duty Day issue.

            126. Pinnacle’s Section 1113 Proposal: Pinnacle proposes no change to the Single

  Duty Day policy for Lineholders, but proposes, at its discretion, to prohibit Reserve pilots from

  waiving the restriction preventing selection of assignments for a Single Duty Day. This change

  will prevent the inefficiency of an assignment to a day on which the Reserve pilot cannot

  actually perform flying during his or her assigned time slot.

                         (k)    Per Diem Compensation

            127. Current Pinnacle Terms: Pilots generally receive a “Per Diem” payment for

  every hour they are away from their home domicile on duty. Per Diem is designed to

  compensate pilots for meals and other ancillary expenses incurred while away from their

  Domiciles. A pilot’s “Time Away From Base” begins when the pilot reports for the first flight

  of a Trip and ends when the pilot is released back at the pilot’s Domicile. Currently,




105
   Single Duty Day Sources (DCI Carriers): ExpressJet-CRJ has no provision; Comair has no
provision; Ex. 69, Compass ALPA CBA, at §25.E.4; GoJet has no provision; Republic has no
provision;
106
   Single Duty Day Sources (Non-DCI Comparators): Air Wisconsin has no provision;
American Eagle has no provision; ExpressJet-ERJ has no provision; Mesa has no provision;
Trans States has no provision.



                                                 -65-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 69 of 108
12-11343-reg      Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 70 of 108




               Ex. 31, Pilot Per Diem – Pinnacle vs. Non-DCI Comparators



         129. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to reduce its Per Diem rate

 to $1.60 per hour, with $0.05 increases in 2016 and 2017. This would still leave Pinnacle

 paying a higher Per Diem rate than two of the six DCI Carriers and one of the five Non-DCI

 Comparators, and would match Air Wisconsin and Trans States among Non-DCI Comparators.

         130. Pinnacle also proposes to eliminate Per Diem pay for trips that start and end in the

 pilot’s domicile on the same day. While this provision does not currently exist at other DCI or

 OAL regional airlines, it has existed in CBAs in the past and is a way to reduce costs without

 impacting safety. Pilots eat before their report and after their release, so this means, a pilot

 only needs food for perhaps a lunch meal. That would be the only out of pocket cost for a pilot

 in this situation.




                                                -67-
12-11343-reg      Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 71 of 108



                       (l)     Customs Credit

         131. Current Pinnacle Terms: In addition to normal Credit Hours earned for an

  international flight, Pinnacle’s pilot contract currently also provides for 18 minutes of credit

  each time the pilot passes through customs (Ex. 54 §3.K), referred to as a “Customs Credit.”

         132. Comparator Group: Two of the other DCI Carriers 109 also provide 18 minutes

  of Customs Credit, while the other four provide no pay credit at all. Two of the Non-DCI

  Comparators 110 provide customs credit in a lower amount than Pinnacle – 15 minutes at Air

  Wisconsin and 10 minutes at ExpressJet-ERJ – while the other three provide no pay credit.

         133. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to eliminate the Customs

  Credit bringing the Company in line with the majority of its Comparators.

                       (m)     Deadhead Credit

         134. Current Pinnacle Terms: There are occasions when pilots need to travel to a

  different location to report for their next scheduled flight, because Trip segments may start

  from a different airport than the pilot’s domicile. Such travel, where the pilot is not operating

  the aircraft but is being positioned to do so, is known as “deadheading.” Pinnacle provides

  deadhead travel via ground or air and compensates pilots for deadheading time at the rate of 75

  percent of actual or scheduled travel time, whichever is greater (the “Deadhead Credit”) (Ex.

  54 §8.A).




109
   Customs Pay Sources (DCI Carriers): ExpressJet-CRJ has no provision; Comair has no
provision; Ex. 69, Compass ALPA CBA, at §3.N; GoJet has no provision; Ex. 71, Republic
Teamsters CBA, at §3.G;
110
   Customs Pay Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at §3.G;
American Eagle has no provision; Ex. 74, ExpressJet-ERJ ALPA CBA, at §3.F; Mesa has no
provision; Trans States has no provision.



                                                -68-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 72 of 108
12-11343-reg           Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                            Pg 73 of 108



          136. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to reduce the Deadhead

  Credit to 50 percent of the greater of actual or scheduled travel time for all deadheading. This

  would match the deadhead rates at GoJet and Mesa for all deadhead time and would match

  ExpressJet-CRJ, Republic,              , and Trans States for ground or surface deadhead.

                  2.      Pilot Training-Related Work Rules

                          (a)    Pay and Credit for Recurrent Training

          137. Current Pinnacle Terms: Under Pinnacle’s current contract, pilots receive pay

  and credit for all training events, including recurrent training (Ex. 54 §3.O). Therefore, value

  of the training event is both paid to the pilot and is also credited to the pilot, resulting in the

  pilot being available for fewer hours of flying in the month of training. For example, if a pilot

  is scheduled and completes ground training with a value of 4 hours, the pilot will be paid 4

  hours and the pilot’s availability for flying for the remainder of the month will be reduced by 4

  hours. By paying pilots for their training event, but not crediting them for the hours, each pilot

  will be available for more flying during the month, thus significantly increasing pilot

  productivity.

          138. Comparator Group: All of the DCI 113 and Non-DCI 114 Comparators provide

  pay and credit for recurrent training. This proposal, however, has been utilized in a number of

  other restructurings in the past decade and will go a long way toward improving the

  productivity of pilots.


113
   Recurrent Training Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §11.D;
Ex. 68, Comair ALPA CBA, at §3.F; Ex. 69, Compass ALPA CBA, at §3.H; Ex. 70, GoJet IBT
CBA, at §5.G; Ex. 71, Republic Teamsters CBA, at §3.M;
114
   Recurrent Training Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§11.I; Ex. 73, American Eagle ALPA CBA, at §3.L; Ex. 74, ExpressJet-ERJ ALPA CBA, at
§14.H; Ex. 75, Mesa ALPA CBA, at §11.C; Ex. 76, Trans States ALPA CBA, at §3.G.



                                                  -70-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 74 of 108



         139. Pinnacle’s Section 1113 Proposal: Pinnacle proposed to significantly increase

 pilot productivity – and thus lower costs – by providing pay/no credit for recurrent training.

                       (b)     Assignment and Compensation of Training Instructors

         140. Current Pinnacle Terms: The FAA mandates that pilots periodically receive

 training, with each session requiring an instructor pilot. Currently, Pinnacle and Mesaba utilize

 different selection and compensation systems for their instructors. Under the Pinnacle system,

 Part-Time Instructors are not contractually required to train pilots during a month and they can

 still bid on a monthly schedule. Instruction days are built in to a pilot’s line as a planned

 activity or added to the line after the bidding process and are assigned by the Company.

 Lineholders bid on and are assigned Instructor Lines and are compensated in accordance with

 general line compensation provisions. Under the Mesaba system, on the other hand, pilots are

 selected to serve as an instructor for a period of time (e.g., six months) and are fully committed

 to training pilots. For this work, the instructors receive an override and a higher monthly

 guarantee than line pilots. As such, the Mesaba system provides the Company with greater

 predictability in its operations.

         141. Comparator Group: All of Pinnacle’s competitors have a single pilot instructor

 assignment/compensation system, and most use a system similar to the more favorable system

 at Mesaba.

         142. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to adopt the current

 Mesaba assignment and compensation system for all instructors. This change would eliminate

 the administrative burden of maintaining two separate systems, and would align Pinnacle’s

 system with the industry norm.




                                               -71-
12-11343-reg      Doc 658       Filed 09/21/12 Entered 09/21/12 17:38:13               Main Document
                                           Pg 75 of 108



                        (c)     Training Freeze

          143. Current Pinnacle Terms: After specified time periods, pilots may bid to fly a

  different aircraft type in the same seat or to be upgraded from First Officer to Captain. Before

  either type of assignment, the FAA requires pilots to undergo extensive training, with sessions

  lasting up to six weeks. In addition to FAA requirements, airlines generally implement their

  own restrictions to limit the movement of pilots from aircraft to aircraft because the cost of

  training a pilot – both in terms of actual training costs such as instructors, facilities, etc., as

  well as having the pilot out of service for the period of instruction – is very expensive and

  reduces pilot productivity. Under Pinnacle’s current work rules, Captains may seek to fly in a

  different aircraft after one year of employment and are subject to additional restrictions after

  that time. This one-year restriction is referred to as a “freeze” because the pilot is essentially

  frozen at that position for 1 year. When a Captain seeks to move to a lower-paying aircraft

  (e.g., from the CRJ-900 to the CRJ-200), however, the freeze at the lower-paying category is

  24 months.

          144. Currently, Pinnacle’s First Officers may be awarded a change in status and/or

  equipment (a) 1 year after the pilot’s date of hire when attaining another First Officer position,

  or (b) at the time the pilot upgrades to Captain. Following an award to a different aircraft as a

  First Officer, the Pilot may be upgraded to Captain after 12 months or a new First Officer

  position after 24 months. (§24.G.3.)

          145. Comparator Group: All of Pinnacle’s competitors prohibit aircraft type

  reassignments by Captains at some level. 115 116 The duration of the Captain freezes range from



115
   Training Freeze Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §24.G.6;
Ex. 68, Comair ALPA CBA, at §11.H; Ex. 69, Compass ALPA CBA, at §24.C; Ex. 70, GoJet



                                                  -72-
12-11343-reg      Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                          Pg 76 of 108



  1 to 3 years, and can be different based on the equipment type. First Officer freezes are also

  common at the competitor airlines and rang from 6 months to 3 years. At DCI Carrier

  Republic, a new hire First Officer is frozen from the time the pilot completes training until the

  pilot is eligible for upgrade to Captain.

         146. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to increase the initial

  Captain freeze from 12 months to 24 months. Additionally, Pinnacle proposes to extend the

  restrictions for Captains seeking to move to a lower-paying category from 24 months to 36

  months. Regarding First Officers, Pinnacle proposes to prohibit First Officers from changing

  status or equipment until the pilot is awarded an upgrade to Captain. A review of the

  Comparator Group shows that Pinnacle’s proposals are in line with the industry. These

  changes will reduce the frequency of providing training, thereby saving the Company money.

  Because training also removes a pilot from revenue-producing operations, this change would

  increase the productivity of Pinnacle’s pilots.

                       (d)     Home Study Pay

         147. Current Pinnacle Terms: Certain types of FAA mandated training can be

  conducted outside of a classroom. This is referred to as “Home Study” or “Distance Learning”

  and may include reviewing manuals or practicing with computer-based simulations. Pinnacle

  currently compensates its pilots for Home Study at a rate of 50 percent of base pay for every

  hour up to 16 hours, and 100 percent of base pay for each hour thereafter (Ex. 54 §11.K.2).

  The hours spent on Home Study are “paid above” a pilot’s Guarantee of 75 Credit Hours – i.e.,

IBT CBA, at §16.E; Ex. 71, Republic Teamsters CBA, at §7.C.9;

116
   Training Freeze Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§24.K; Ex. 73, American Eagle ALPA CBA, at §15.I; Ex. 74, ExpressJet-ERJ ALPA CBA; Ex.
75, Mesa ALPA CBA, at §23.F; Ex. 76, Trans States ALPA CBA, at §24.D.



                                                -73-
12-11343-reg      Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                         Pg 77 of 108



  each pilot’s monthly compensation always includes payment for at least 75 Guaranteed Credit

  Hours plus any credited Home Study time.

         148. Comparator Group: All but one of Pinnacle’s competitors, 117 118 Comair,

  compensate pilot Home Study at 50 percent or less of the base rate, regardless of the total

  hours spent, with one airline also limiting the compensable pilot Home Study time to two hours

  per session.

         149. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to compensate pilot Home

  Study at 50 percent of base rate, regardless of total time spent. This proposal essentially brings

  Pinnacle’s Home Study provision in line with the industry. Pinnacle would continue to

  compensate pilots for any hours spent on Home Study above that pilot’s Minimum Monthly

  Guarantee.

                       (e)     Positive Space During Training

         150. Current Pinnacle Terms: Pinnacle provides a pilot with the option of positive

  space travel – which includes a reserved seat on a flight – to and from the pilot’s domicile if

  the pilot is scheduled for 2 or more consecutive Days Off during Long Term Training. If the

  pilot chooses not to travel to his or her domicile during the pilot’s two days off, the pilot may

  remain at the training location hotel the Company’s expense (Ex. 54 §11.A.3.H). Providing

  positive space on flights reduces the seats available for sale to the public when it is not




117
   Home Study Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §11.D.6; Ex.
68, Comair ALPA CBA, at §3.F.a-b; Ex. 69, Compass ALPA CBA, at §11.B; GoJet has no
provision; Republic has no provision;
118
   Home Study Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at §11.H;
Ex. 73, American Eagle ALPA CBA, at §3.L3; Ex. 74, ExpressJet-ERJ ALPA CBA, at §14.H.5;
Mesa has no provision; Ex. 76, Trans States ALPA CBA, at §3.G.7.



                                                 -74-
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 78 of 108



  absolutely necessary for a pilot to return home. As long term training often occurs away from

  a pilot’s base, assuring each pilot’s positive space on flights can be costly.

         151. Comparator Group: Pinnacle’s competitors 119 120 do not specify the

  requirement for positive space per se, although 3 of the competitors specifically allow travel

  back to a pilot’s domicile on days off during training. ExpressJet-CRJ only allows return to

  domicile if the training period is greater than 14 days. At ExpressJet-ERJ Pilots who chose to

  remain at the training location when given more than 2 consecutive days off will not be

  provided lodging or per diem during those days off.

         152. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to eliminate its

  requirement to provide Pilot’s with positive space during training should the pilot choose to

  travel to or from his or her domicile during 2 or more consecutive days off. This removal

  would match 7 of Pinnacle’s 11 competitors who have no provision regarding positive space

  during training.

               3.      Other Work Rules

                       (a)     Uniform Maintenance Allowance

         153. Current Pinnacle Terms: Pinnacle currently provides a “Uniform Maintenance

  Allowance” of $20 per month to each pilot (Ex. 54 §18.H). The allowance is designed to assist

  pilots with the purchase, replacement, and cleaning of uniforms.




119
   Position Space Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §11.C.2.e;
Ex. 68, Comair ALPA CBA, at §12.B.4; Compass has no provision; GoJet has no provision;
Republic has no provision;
120
   Position Space Sources (Non-DCI Comparators): Air Wisconsin has no provision; Ex. 73,
American Eagle ALPA CBA, at §5.B.4; Ex. 74, ExpressJet-ERJ ALPA CBA, at §14.G; Mesa
has no provision; Trans States has no provision.



                                                 -75-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                         Pg 79 of 108



         154. Comparator Group: Only one of the six other DCI Carriers 121 provides a

  uniform maintenance allowance to its pilots – Compass, which provides the same $20 per

  month as Pinnacle. Among Non-DCI Comparators, 122 three of the five carriers provide no

  uniform maintenance allowance while Trans States is $25 per month and Air Wisconsin’s is

  $250 per year; however, Air Wisconsin pilots must pay 100% of their initial uniform expense

  while Pinnacle pilots pay 50%.

         155. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to eliminate the Uniform

  Maintenance Allowance, putting them in line with the majority of DCI and Non-DCI

  Comparators.

                       (b)    Flight Pay Loss

         156. Current Pinnacle Terms: Pilots receive pay and credit for duty time lost due to

  time spent serving on ALPA-related committees (e.g., APLA’s global management committee,

  Hotel Committee, Negotiating Committee, etc.). Under its current pilot contract, Pinnacle

  absorbs the first $350,000 of such “Flight Pay Loss” annually (§13.F.7.d as amended by LOA

  21.A.10). The union only reimburses Pinnacle for amounts over $350,000 per year.

         157. Comparator Group: Notwithstanding a limited exception at Compass, all of the

  other DCI Carriers 123 are fully reimbursed by their respective pilot unions for Flight Pay Loss.

121
   Uniform Maintenance Sources (DCI Carriers): ExpressJet-CRJ has no provision; Comair has
no provision; Ex. 69, Compass ALPA CBA, at §26.A; GoJet has no provision; Republic has no
provision;
122
   Uniform Maintenance Sources (Non-DCI Comparators): Air Wisconsin at §18.C; American
Eagle has no provision; ExpressJet-ERJ has no provision; Mesa has no provision; Trans States at
§5.F.
123
   Flight Pay Loss Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §9.D.1; Ex.
68, Comair ALPA CBA, at §25.M.7; Ex. 69, Compass ALPA CBA, at §13.G, §11.R.4,
§13.G.17.g; Ex. 70, GoJet IBT CBA, at §15.G.3-4; Ex. 71, Republic Teamsters CBA, at
§12.G.3-4;



                                                -76-
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                         Pg 80 of 108



  Compass absorbs the cost of Flight Pay Loss only for pilots taking part in activities related to

  its the Training Review Board, Flight Operations Quality Assurance (“FOQA”), and Aviation

  Safety Action Program (“ASAP”) programs. All of the Non-DCI Comparators 124 are fully

  reimbursed for Flight Pay Loss.

         158. Pinnacle’s Section 1113 Proposal: Pinnacle proposes that ALPA fully

  reimburse the Company for Flight Pay Loss, aligning it with nearly all of its Comparators.

                       (c)    Medical Reimbursement

         159. Current Pinnacle Terms: The FAA requires Pilots to undergo one or two

  medical exams per year. The Company may also require additional medical exams at its

  discretion. Under its current pilot contract, Pinnacle reimburses pilots for all Company-

  required medical exams and one FAA-required medical exam annually, up to $100 (LOA

  21.A.9).

         160. Comparator Group: Only one of the eleven DCI 125 and Non-DCI 126

  Comparator airlines are required to reimburse pilots for FAA-required medical exams.

         161. Pinnacle’s Section 1113 Proposal: Pinnacle proposes no change to the

  reimbursement of Company-mandated medical exams, but seeks to eliminate reimbursement

  for FAA-mandated exams, bringing it in line with its Comparators.

124
   Flight Pay Loss Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§13.H.4; Ex. 73, American Eagle ALPA CBA, at §18.F.2.e; Ex. 74, ExpressJet-ERJ ALPA
CBA, at §12.J.5; Ex. 75, Mesa ALPA CBA, at §9.E.6; Ex. 76, Trans States ALPA CBA, at
§13.G.4-5.
125
   Medical Reimbursement Sources (DCI Carriers): ExpressJet-CRJ has no provision; Comair
has no provision; Compass has no provision; GoJet has no provision; Republic has no provision;

126
   Medical Reimbursement Sources (Non-DCI Comparators): Air Wisconsin at §15; American
Eagle has no provision; ExpressJet-ERJ has no provision; Mesa has no provision; Trans States
has no provision.



                                                -77-
12-11343-reg      Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                          Pg 81 of 108



                       (d)     Moving Benefits for Voluntary Changes in Domicile

         162. Current Pinnacle Terms: In addition to reimbursing moving expenses for pilots

  who are involuntarily assigned to new Domiciles, Pinnacle provides various moving-related

  benefits to pilots who change Domiciles voluntarily, including per diem, hotel

  accommodations, and additional time off (Ex. 54 §§6.E, 6.F). Under the current ALPA JCBA,

  such benefits for voluntary Domicile changes are payable even if the pilot is not changing his

  or her place of residence.

         163. Comparator Group: Only two DCI Carriers 127 provide such benefits for pilots

  who voluntarily change domiciles. ExpressJet-CRJ provides per diem, but not lodging, until

  the pilot receives 4 consecutive days off following the last scheduled trip at the former

  domicile.

                                                                             It is important to note

  that pilots at those two carriers only receive the stated benefits in the case of an actual move.

  None of the Non-DCI Comparators 128 receive similar benefits upon voluntary changes in

  domicile.

         164. Pinnacle’s Section 1113 Proposal: Pinnacle proposes no change to the

  provisions governing moving benefits for pilots required by the Company to change Domiciles,

  but proposes to eliminate pilot moving benefits, as described above, for voluntary Domicile

  changes.


127
   Voluntary Moving Expenses Sources (DCI Carriers): Ex. 67, ExpressJet-CRJ ALPA CBA, at
§5.A.5; Comair has no provision; Compass has no provision; GoJet has no provision; Republic
has no provision;
128
   Voluntary Moving Expenses Sources (Non-DCI Comparators): Air Wisconsin has no
provision; American Eagle has no provision; ExpressJet-ERJ has no provision; Mesa has no
provision; Trans States has no provision.



                                                -78-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                        Pg 82 of 108



                      (e)     Family Medical Leave Act (FMLA) – Dependent Care

        165. Current Pinnacle Terms: Pinnacle’s pilots accrue 2.5 hours of sick leave each

 month, and can accrue this sick leave without limit. Under the current pilot contract, if a pilot

 needs to take time off under FMLA for any qualifying event that pilot may use his or her sick

 leave credit hours to be paid for such time off (LOA 21.A.4-5).

        166. Comparator Group: Most regional airlines have non-contractual policies

 regarding FMLA that can be changed unilaterally by the carrier.

        167. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to grant FMLA leave in

 accordance with applicable law and proposes to remove an employee’s option to be paid using

 sick leave credit hours for FMLA unless it is for the pilots’ own qualifying serious illness.

 Under the proposed terms, employees would only be eligible to use sick leave credit hours

 when leave is taken based on that employees’ own health condition.

VII.   PINNACLE’S FLIGHT ATTENDANT CONTRACT CONTAINS A NUMBER OF
       PROVISIONS THAT ARE MORE COSTLY AND PROVIDE LESS
       PRODUCTIVITY THAN ITS COMPETITORS

        168. I have analyzed and compared the provisions of Pinnacle’s Section 1113 proposal

 to the comparable provisions in the flight attendant labor contracts of the Comparator Group.

 As with Pinnacle’s pilots, and as noted in Section IV, above, and illustrated in more detail

 below, Pinnacle is at a disadvantage versus its main competitors in terms of flight attendant

 labor costs as driven by certain work rules and benefits.

       A.      Pinnacle’s Flight Attendant Compensation Is At Market Rates

        169. Flight attendants are paid an hourly rate based on length of service with the

 Company. The longer a flight attendant is with a Company, the higher the hourly rate. In

 addition to their current hourly rates, Pinnacle flight attendants are scheduled to receive 1.5




                                               -79-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                        Pg 83 of 108



 percent general wage increase on October 24, 2012, with additional increases of 1.0 percent in

 October 2013 and 2014 and another 1.5 percent increase in October 2015.

      Current Flight Attendant Pay Scales

        170. The mark-to-market analysis shows that Pinnacle’s current flight attendant pay

 scale is in line with both its DCI and Non-DCI competitors. See Ex. 17, Mark-to-Market. At

 some seniority steps, Pinnacle’s rates are slightly higher than the industry average, and at

 others, Pinnacle’s rates are slightly lower than the industry average. See Ex. 34, Current Flight

 Attendant Pay vs. All Carriers.

        171. Pinnacle’s current wage rate for first year flight attendants is 0.6 percent lower

 than the DCI average, but is higher than 3 of its DCI competitors. See Ex. 35, Current Flight

 Attendant Pay vs. DCI Carriers. Pinnacle’s pay rate for 10-year flight attendants is about 1.1

 percent higher than the DCI average and is higher than three of its DCI competitors. Pinnacle

 currently caps its flight attendant pay scale at 16 years. Pinnacle’s current wage rate for 16-

 year flight attendants is higher than that of 2 of its DCI competitors and is 1.6 percent above

 the DCI average.

        172. As noted above, Compass and GoJet are the two youngest carriers among the DCI

 group. As a result, the average seniority of a Pinnacle flight attendant is higher than flight

 attendant seniority at Compass and GoJet, resulting in an added cost disadvantage to Pinnacle.

        173. Pinnacle’s flight attendant pay rate ranges from

 than the pay rates at Compass and                                             than the pay rates at

 GoJet. See Ex. 36, Current Flight Attendant Pay vs. GoJet and Compass.




                                               -80-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                        Pg 84 of 108



      Proposed Wage Reduction and General Wage Increases

        174. In addition to the proposed pay scale reductions, see Ex. 37, Proposed Flight

 Attendant Pay vs. DCI Carriers; Ex. 38, Proposed Flight Attendant Pay vs. Non-DCI

 Comparators, Pinnacle proposes to modify the current scheduled pay increases to flight

 attendants to increases of 1.5 percent each year, starting in January 2014.

        175. Pinnacle’s proposed wage rate for first year Flight Attendants would be higher

 than one of its DCI competitors, but sill 5.6 below the DCI average. Pinnacle’s wage rate for

 10-year Flight Attendants would also be higher than one of its DCI competitors, but 4.0 percent

 below the DCI average.

        176. To help solve the seniority disadvantage, Pinnacle has proposed to cap the flight

 attendant pay scale at 12 years instead of 16 years. At 12 years of seniority, Pinnacle’s

 proposed rates would be higher than two of its DCI competitors at 12 years of seniority, but 3.1

 percent below the DCI average.

      B.       Pinnacle’s Flight Attendant Work Rules Are Costly

        177. Pinnacle’s competitive disadvantage is also owed, in part, to its flight attendant

 work rules. Like those governing its pilots, the work rules governing flight attendants

 substantially impact productivity and cost because they determine, among other things, number

 of days of work, how and when flight attendants may be scheduled to work, which, in turn,

 governs the number of flight attendants needed to staff a particular flight schedule.

        178. Below is a description of the flight attendant rule modifications that Pinnacle has

 proposed and how these modifications achieve critical improvements to Pinnacle’s competitive

 position.




                                               -81-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 85 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 86 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 87 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 88 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 89 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 90 of 108
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13          Main Document
                                         Pg 91 of 108



 other restructurings in the past decade and will go a long way towards improving the

 productivity of flight attendants.

         191. Pinnacle’s Section 1113 Proposal: Pinnacle proposed to significantly increase

 flight attendant productivity – and thus lower costs – by provided pay/no credit for recurrent

 training.

               5.      Open Time Posting

         192. Current Pinnacle Terms: Similar to the open time discussion in the pilots

 section, “Open Time” is flying that either was not assigned during the monthly bid process for

 flying or which becomes available during the month. Currently, flying which becomes

 available greater than 48 hours prior to report time must be placed in open time and made

 available for voluntary pick prior to being assigned to a Reserve (Ex. 55 §5.G.2). As was

 discussed in the pilot section, while this “Open Time” can be picked up by Lineholders or

 Reserves, it is typically picked up by Lineholders with seniority advantage over Reserves.

 This results in various Lineholders reaching and even exceeding the Minimum Monthly

 Guarantee. Because Reserves are typically underutilized and less likely to reach the Minimum

 Monthly Guarantee, it would save the Company money if Reserves picked up that open time or

 if the Company were able to assign that open time to Reserves. Under the current provision,

 however, the Company must first make all Open Time available for voluntary pick up before

 assigning it to a Reserve. The Lineholders who typically pick up this open time are then often

 paid over their Minimum Monthly Guarantee, at added cost to Pinnacle.




                                              -88-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 92 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 93 of 108
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                         Pg 94 of 108



 on average, a Pinnacle flight attendant is credited with 5 hours per day, a relative comparison

 can be made with the other carriers. At 5 credit hours per day, the current provision of 6 days

 per month would result in part-time flight attendants working 30 hours per month. This is well

 below the minimum at each of the DCI Carriers where the minimums range from 31.25 credit

 hours to 40 credit hours, as well as the Non-DCI Carrier, ExpressJet-ERJ. While Non-DCI

 comparator American Eagle does provide reduced lines of flying, these lines are not held to a

 minimum number of hours.

         200. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to increase the part-time

 lines from 6 scheduled work days to 8 scheduled work days per month. Applying the average

 of 5 credit hours per day, this would increase a part-time flight attendant from being scheduled

 30 hours per month to 40 hours per month. This proposal would allow for a more effective use

 of part-time flight attendants, increase productivity, and place Pinnacle align with the other

 carriers.

               8.      Deadhead

         201. Current Pinnacle Terms: As explained above in the pilots section, flight

 attendants also are often required to “deadhead” (traveling to a location other than a flight

 attendant’s domicile to report for a scheduled flight). A flight attendant can deadhead by air

 travel or ground travel. Currently, Pinnacle compensates flight attendants for “deadheading”

 either by air or ground at the rate of 75 percent of actual or scheduled travel time, whichever is

 greater (the “Deadhead Credit”) (Ex. 55 §19.B, §19.C).

         202. Comparator Group: Pinnacle’s DCI and Non-DCI Comparators compensate

 flight attendants for deadheading at rates between 50 percent and 100 percent of the deadhead




                                               -91-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 95 of 108
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                         Pg 96 of 108




        203. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to reduce the Deadhead

 Credit to 50 percent of the greater of actual or scheduled travel time for all deadheading. This

 rate would match all of the non DCI Carriers. The proposal would align Pinnacle’s rate for

 ground deadheading with four of the DCI Carriers, and the proposal for deadheading by air

 would match Compass’ rate and place Pinnacle at a competitive advantage with respect to the

 other DCI competitors.

VIII. PINNACLE’S EMPLOYEE BENEFITS ARE AMONG THE MOST COSTLY IN
      THE INDUSTRY

        204. Health care costs continue to skyrocket across American industry. Pinnacle has

 not been immune to this national problem. The Company-sponsored medical benefits that

 Pinnacle provides to its employees are very costly to the Company and continue to rise each

 year. Curbing these rising costs is necessary to keep Pinnacle competitive and allow Pinnacle

 to manage its future costs. Pinnacle has proposed company-wide modifications to its employee

 benefits plans as follows:

      A.       Medical Plans

               1.      Medical Plan Design

        205. Current Pinnacle Terms: Pinnacle currently offers two types of health plans: an

 Open Access Plan (“OAP”) and Health Reimbursement Act Plan (“HRA”). In general, the

 OAP provides In-Network and Out-of-Network coverage with defined benefits for medical

 services. The HRA also provides benefits for In-Network and Out-of-Network coverage, but

 has lower premiums and a higher deductible than the OAP Plan.

        206. Comparator Group: Pinnacle’s Comparators offer employees the option

 between OAP or other point-of-service/preferred-provide plans, and/or HRAs or consumer-



                                              -93-
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                         Pg 97 of 108



  driven healthcare plans (“CDHP”). The trend in American industry has been towards the type

  of CDHP that Pinnacle has proposed. 144

         207. Pinnacle’s Section 1113 Proposal: Given the rapidly-changing nature of the

  health care industry and rising health care costs, as well as the recent trend in American

  industry toward CDHPs, Pinnacle must adopt a medical plan that is in line with the trend in

  order to be competitive. A summary of the benefits under the proposed consumer-driven HRA

  plan is attached as Ex. 51, Pilot 1113 Term Sheet and Ex. 52, Flight Attendant 1113 Term

  Sheet. The proposed plan would save Pinnacle an estimated $4.6 million per year. (See

  Declaration of Stephen Hunyor, dated September 13, 2012, at ¶ 5.) Moreover, Pinnacle will

  save costs by matching coverage to employee needs and by eliminating the administrative costs

  and burdens associated with maintaining two types of healthcare plans.

               2.      Employee Contributions to Medical Premium

         208. Current Pinnacle Terms: Currently, Pinnacle employees opting for the OAP

  plan pay 27 percent of the premium, which ranges from about $101 per month for single

  coverage up to $323 per month for family coverage. Pinnacle’s employees that opt for the

  HRA plan pay approximately 25 percent of the premium, which ranges from about $67 per

  month for single coverage up to $214 per month for family coverage.

         209. Comparator Group: Among DCI Carriers, only Comair pilots contribute a

  lower percentage towards their health care costs than Pinnacle, while Air Wisconsin is the only




144
   According to a publication by the Bureau of Labor Statistics, 22 percent of respondents to a
Mercer survey of private employees “plan to institute a CDHP to curb the increase in
[healthcare] cost.” See Consumer-Driven Health Care: What Is It, And What Does It Mean for
Employees and Employers, available at http://www.bls.gov/opub/cwc/cm20101019ar01p1.htm.



                                                -94-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                    Pg 98 of 108
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13          Main Document
                                         Pg 99 of 108




               Ex. 46, Pilot Share of Premium for Medical Plans – Pinnacle vs. Non-DCI

               Comparators



        210. Pinnacle’s Section 1113 Proposal: Under its proposed consumer-driven HRA

 plan, employees would contribute 35 percent of the plan cost. This would place Pinnacle well

 within the range for the industry – GoJet and Republic pilots would still contribute a higher

 share than Pinnacle among DCI Carriers, while

          Mesa and Trans States would remain higher among Non-DCI Comparators.

               3.      Future Changes to the Medical Plan Design

        211. Current Pinnacle Terms: Currently, Pinnacle is not contractually permitted to

 make any changes to the medical plan designs offered to pilots, including the applicable

 coverage, deductibles, and co-payments, without the consent of ALPA (Ex. 55 §27,

 Appendices E, F, G).




                                              -96-
12-11343-reg        Doc 658    Filed 09/21/12 Entered 09/21/12 17:38:13              Main Document
                                         Pg 100 of 108



         212. Comparator Group: Among DCI Carriers, 146

                     ExpressJet-CRJ must offer benefits at least equal to other employee groups

  and, if it negotiates benefit changes with the insurer, it must only notify the union and provide

  it with an opportunity to discuss such changes. Four of the five Non-DCI Comparators 147 may

  make changes to their medical benefits after non-binding consultation with their unions.

         213. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to have the ability to

  modify the health care plan at its discretion, which will provide the flexibility necessary to

  adapt to the rapidly-changing healthcare industry and which will be competitive with the rules

  in place at the majority of its DCI and Non-DCI Comparators.

               4.      Medical Plan Coverage for Retired Pilots

         214. Current Pinnacle Terms: Pinnacle provides health care coverage to pilots who

  retire at age 60 and their spouses at a reduced cost compared to COBRA (Ex. 54 §27.C).

  Retired pilots are eligible to receive this coverage until the time that they are eligible for

  Medicare. Very few of Pinnacle’s pilots actually choose to use this plan, but Pinnacle is

  required to reflect the costs of future retirees on its books for accounting purposes, negatively

  impacting its profit and loss statements.




146
   Plan Changes Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §28.A.1; Ex.
68, Comair ALPA CBA, at §26.B; Ex. 69, Compass ALPA CBA, at §27; Ex. 70, GoJet IBT
CBA, at §27; Ex. 71, Republic Teamsters CBA, at §14.B, §14.H;
147
   Plan Changes Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§27.D; Ex. 73, American Eagle ALPA CBA, at §28.A; Ex. 74, ExpressJet-ERJ ALPA CBA, at
§22.E; Ex. 75, Mesa ALPA CBA, at §24.A; Ex. 76, Trans States ALPA CBA, at §27.



                                                 -97-
12-11343-reg        Doc 658    Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                         Pg 101 of 108



         215. Comparator Group: Four of the six DCI Carriers 148 do not offer any retiree

  medical coverage to their pilots, and a fifth carrier, Compass, requires pilots to pay 100 percent

  of the cost of retiree medical coverage. Two of the five Non-DCI Comparators 149 do not offer

  retiree medical and ExpressJet-ERJ pilots pay 100 percent of the cost.

         216. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to eliminate health care

  coverage for retired employees on a going-forward basis. Pinnacle will offer retirees access to

  its medical plans to the extent that they wish to enroll, but they would be responsible for 100

  percent of the premium. This places Pinnacle well within the industry standard compared to

  both its DCI and Non-DCI Comparators. Most importantly, since pilots now do not have to

  retire until age 65, all employees, including pilots, will have the safety net of Medicare should

  they decide to retire at age 65.

       B.      Sick Leave and Disability

               1.      Extended Sick Leave / Short Term Disability

         217. Current Pinnacle Terms: Pinnacle pilots accrue 30 hours of regular sick leave

  per year (Ex. 54 §14) and its flight attendants accrue 36 hours of regular sick leave per year

  (Ex. 55 §13). Regular sick leave is paid at 100 percent of base pay and is designed to cover

  short term absences due to illness or off the job injuries. In addition, pilots and flight

  attendants (and other Company employees) participate in an Extended Sick Leave (“ESL”)

  plan, which is fully funded by Pinnacle and which begins on the 4th day of a disabling


148
   Retiree Medical Sources (DCI Carriers): Ex. 66, ExpressJet-CRJ ALPA CBA, at §28.G; Ex.
68, Comair ALPA CBA, at §26.F; Ex. 69, Compass ALPA CBA, at §27.A; GoJet has no
provision; Republic has no provision;                         .
149
   Retiree Medical Sources (Non-DCI Comparators): Ex. 72, Air Wisconsin ALPA CBA, at
§27.B; Ex. 73, American Eagle ALPA CBA, at §28.C; Ex. 74, ExpressJet-ERJ ALPA CBA, at
§22.B; Mesa has no provision; Trans States has no provision.



                                                 -98-
12-11343-reg        Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                        Pg 102 of 108



 condition (15th day for flight attendants), may continue for up to 90 days, and is paid at 60

 percent of base pay. Once on ESL, employees only have to contribute 40 percent from their

 sick leave bank (rather than 100 percent). ESL is designed to cover longer-term absences due

 to more serious illness or injury. Pinnacle does not currently offer a standard Short Term

 Disability (“STD”) plan.

        218. Comparator Group: None of the DCI Carriers offers an ESL or similar plan to

 its pilots or flight attendants. Two of the six DCI Carriers do not offer an STD plan either

                     , while the other four offer STD plans that are 100% paid by the employee

 (ExpressJet-CRJ, Comair, Republic, SkyWest). Of the Non-DCI Comparators, American

 Eagle, and ExpressJet-ERJ offer a form of extended sick leave to pilots, while ExpressJet-ERJ

 and Mesa offer it to flight attendants. Air Wisconsin, American Eagle and Mesa offer STD

 plans to pilots and flight attendants. Trans States offers neither extended leave nor a STD plan

 to either group.

        219. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to replace Company-paid

 ESL plan with an employee-paid short-term disability plan. As discussed above, this aligns

 Pinnacle with its Comparators and allows it to be more competitive. These changes would

 align Pinnacle with the industry average and are estimated to save the Company approximately

 $939,000 per year.

               2.      Long-Term Disability

        220. Current Pinnacle Terms: Pinnacle currently offers Company-paid Long-Term

 Disability (“LTD”) benefits to its pilots (Ex. 54 §27.G). Pinnacle’s flight attendant LTD

 benefits are covered by company policy. Each plan is 100% paid by the Company.

        221. Comparator Group: Comair requires that pilots contribute towards their LTD

 coverage, while Republic’s pilot and flight attendant CBAs make no mention of an LTD plan


                                               -99-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13           Main Document
                                       Pg 103 of 108



 at all. Among Non-DCI Comparators, Air Wisconsin, and ExpressJet-ERJ require their pilots

 to contribute around half of the cost.

        222. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to modify its LTD

 provision to require that employees contribute 25 percent towards the cost of the benefit,

 bringing it closer in line with a number of its Comparators.

      C.       401(k) Retirement Benefits

        223. Current Pinnacle Terms: Pinnacle currently matches its employee’s 401(k)

 contributions at varying rates depending on seniority. For example, Pinnacle matches 25% of

 the first 6% of the employee’s contributed salary for employees with 1 to 6 years of service, up

 to 125% of the first 10% of contributed salary is matched for employees with over 20 years of

 service (Ex. 54 §28 of pilot JCBA; Ex. 55 §22 of flight attendant CBA).

        224. Comparator Group: As shown in Ex. 47, Pilot DC Plan Contribution – Pinnacle

 vs. DCI Carriers (reproduced below), Ex. 48, Pilot DC Plan Contribution – Pinnacle vs. Non-

 DCI Comparators (reproduced below), Ex. 49, Flight Attendant DC Plan Contribution –

 Pinnacle vs. DCI Carriers (reproduced below), Ex. 50, Flight Attendant DC Plan Contribution

 – Pinnacle vs. Non-DCI Comparators (reproduced below), Pinnacle’s current contribution level

 – as measured by the maximum possible Company contribution – exceeds that of every other

 DCI and Non-DCI comparator, most by a significant margin.




                                             -100-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                   Pg 104 of 108
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                   Pg 105 of 108
12-11343-reg     Doc 658      Filed 09/21/12 Entered 09/21/12 17:38:13            Main Document
                                        Pg 106 of 108



        225. Pinnacle’s Section 1113 Proposal: Pinnacle proposes to reduce the rate of

 Pinnacle’s matching 401(k) contributions to bring it more in line with the industry norm.

 Under the proposed modifications, Pinnacle would continue to match 25% of the first 6% of

 the pilot’s contributed salary for pilots with 1-5 years of service, and would match 50% of the

 first 8% of the pilot’s contributed salary for pilots with 6-10 years, and 50% of the first 10% of

 the pilot’s contributed salary for pilots with over 10 years of service, which equates to a

 maximum match of 5% of salary. As illustrated above, this still leaves Pinnacle within the

 range of its Comparators.

      D.       Profit Sharing

        226. Variable compensation such as profit sharing is a great tool for an industry that is

 as cyclical in nature as the airline industry. During the restructuring period of the past decade,

 many airlines have instituted profit sharing plans that have resulted in real compensation for

 employees. It is a fair and equitable way to share the upside with employees who have

 sacrificed in other areas.

        227. Current Pinnacle Terms: Pinnacle does not currently offer a profit-sharing plan.

        228. Comparator Group: Because most profit sharing plans in the regional airline

 industry are offered by companies on a discretionary basis, and not negotiated with the union,

 the provisions of those plans often do not appear in the CBAs, making it difficult to obtain

 details of the plans. In addition, these discretionary, non-negotiated, profit sharing plans may

 be changed at any time by the Company. Only ExpressJet-CRJ and Comair, among the six

 DCI Carriers, have CBAs which contain details of the profit sharing plans. Republic’s CBA

 only states that any plan offered to other employees will be offered to pilots or flight

 attendants.

                  . I do not have information on any plans that may be in place at Compass or


                                              -103-
12-11343-reg     Doc 658     Filed 09/21/12 Entered 09/21/12 17:38:13             Main Document
                                       Pg 107 of 108



 GoJet, but since there is no mention of any such plan in their respective CBAs, if there is any

 profit sharing plan offered at all, the provisions of the plans are discretionary and may be

 revised by the airlines at any time. Among the Non-DCI Comparators, only ExpressJet-ERJ

 pilot and flight attendant CBAs speak to a profit sharing plan at all.

        229. Pinnacle’s Section 1113 Proposal: If consensual agreements are reached,

 Pinnacle proposes to provide a profit-sharing plan, detailed in full in Ex. 51, Pinnacle Pilot

 1113 Term Sheet and Ex. 52, Pinnacle Flight Attendant 1113 Term Sheet. Under the profit-

 sharing proposal, in the event that the Company meets certain benchmarks, a bonus pool based

 on 10% of the Company’s Adjusted Earnings up to 4% pre-tax margin, and 15% above the 4%

 pre-tax margin would be created. Each class of employees, other than officers and directors,

 would receive a pro rata share of the Bonus Pool based on the class’s wage and benefits

 concessions during bankruptcy. This proposal is projected to result in approximately $7

 million in annual payments to employees. This plan provides guaranteed sharing starting with

 the first dollar of profits earned. This would be among the best plans in the industry and,

 unlike the discretionary plans at most of Pinnacle’s competitors, it would guarantee employees

 a share in the future profits of the Company.




                                              -104-
12-11343-reg   Doc 658   Filed 09/21/12 Entered 09/21/12 17:38:13   Main Document
                                   Pg 108 of 108
